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                                   U NI T E D S T A T E S DI S T RI C T C O U R T
                         F O R T H E W E S T E R N DI S T RI C T O F P E N N S Y L V A NI A


    I N R E: P HI LI P S R E C A L L E D C P A P,                        M ast er D o c k et: N o. 2 1- m c- 1 2 3 0
    BI- L E V E L P A P, A N D M E C H A NI C A L
    V E N TI L A T O R P R O D U C T S LI TI G A TI O N                  M D L N o. 3 0 1 4


    K O NI N K LIJ K E P HI LI P S N. V.,
    P HI LI P S N O R T H A M E RI C A L L C,
    P HI LI P S H O L DI N G U S A, I N C.,                                        P HI L I P S D E F E N D A N T S’
    P HI LI P S R S N O R T H A M E RI C A L L C, a n d                          A M E N D E D T HI R D- P A R T Y
    P HI LI P S R S N O R T H A M E RI C A                                 C O M P L AI N T F O R C O N T RI B U TI O N 1
    H O L DI N G C O R P O R A TI O N,

                                   D ef e n d a nts /
                                   T hir d- P art y Pl ai ntiffs,

             v.

    S O C L E A N, I N C. a n d
    D W M A N A G E M E N T S E R VI C E S, L L C,

                                  T hir d- P art y D ef e n d a nts.




1
              T hr o u g h dis c o v er y i n t h e r el at e d M D L ( M D L 3 0 2 1), t h e P hili ps D ef e n d a nts ar e a w ar e t h at
( 1) n u m er o us ot h er e ntiti es affili at e d wit h S o Cl e a n, I n c. ( “ S o Cl e a n ”) a n d D W M a n a g e m e nt
S er vi c es, L L C ( “ D W H P ”) —i n cl u di n g Lif e br a n ds H ol di n gs, I n c., S o Cl e a n P ar e nt, L P ( “ S o Cl e a n
P ar e nt ”), S o Cl e a n P ar e nt G P, L L C, D W H e alt h c ar e P art n ers I V L P, D W H e alt h c ar e Affili at es I V,
L P, a n d D W H e alt h c ar e P art n ers I V ( B), L P —s h o ul d b e j oi n e d as p arti es i n t his a cti o n a n d
( 2) m a n y a d diti o n al all e g ati o ns r e g ar di n g all of t h es e e ntiti es’ li a bilit y a n d p ers o n al j uris di cti o n
(i n cl u di n g D W H P) c a n b e m a d e. S e e, e. g. , M D L 3 0 2 1, E C F N o. 6 5 3 (i d e ntif yi n g ot h er p arti es
a n d a d diti o n al j uris di cti o n al all e g ati o ns). B ut as of t h e fili n g of t h es e a m e n d e d c o ntri b uti o n
cl ai m s, S o Cl e a n a n d D W H P i nsist t h at t h es e all e g ati o ns c a n n ot b e m a d e i n t his pl e a di n g i n M D L
3 0 1 4 b e c a us e t h e d o c u m e nts o n w hi c h t h es e all e g ati o ns ar e b as e d h a v e b e e n pr o d u c e d s ol el y i n
M D L 3 0 2 1. O n c e t h es e d o c u m e nts ar e pr o d u c e d or d e e m e d pr o d u c e d i n M D L 3 0 1 4 — or S o Cl e a n
ot h er wis e a gr e es ( or is or d er e d) t o p er mit t h eir us e a cr oss b ot h of t h es e M D Ls —t h e P hili ps
D ef e n d a nts i nt e n d t o, a g ai n, a m e n d t h es e c o ntri b uti o n cl ai ms t o a d d t h os e a d diti o n al p arti es a n d
all e g ati o ns. N o n e of t his s h o ul d b e n e c ess ar y —t h es e M D Ls ar e r el at e d a n d h a v e al w a ys b e e n
c o or di n at e d — b ut is b ei n g c a us e d b y S o Cl e a n’s a n d D W H P’s att e m pt t o d el a y t h e a d v a n c e m e nt of
t h es e c o ntri b uti o n cl ai ms.
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           P urs u a nt t o F e d er al           R ul e of    Ci vil Pr o c e d ur e 1 4( a) a n d Pr etri al          Or d er    N o. 3 1,

D ef e n d a nts/ T hir d- P art y Pl ai ntiffs K o ni n klij k e P hili ps N. V., P hili ps N ort h A m eri c a L L C, P hili ps

H ol di n g U S A I n c., P hili ps R S N ort h A m eri c a L L C ( “ P hili ps R S ”), a n d P hili ps R S N ort h A m eri c a

H ol di n g C or p or ati o n ( c oll e cti v el y, “ T hir d- P art y Pl ai ntiffs ” or t h e “ P hili ps D ef e n d a nts ”) bri n g t his

t hir d- p art y c o m pl ai nt f or c o ntri b uti o n a n d i n d e m nit y a g ai nst T hir d- P art y D ef e n d a nts S o Cl e a n, I n c.

( “ S o Cl e a n ”) a n d D W M a n a g e m e nt S er vi c es, L L C ( “ D W H P ”). T hir d- P art y Pl ai ntiffs’ all e g ati o ns

ar e b as e d o n k n o wl e d g e as t o t h e ms el v es a n d, f or t h e c o n d u ct of ot h ers, o n i nf or m ati o n a n d b eli ef

f oll o wi n g a r e as o n a bl e i n q uir y.

                                                           I N T R O D U C TI O N

           1.         T h o us a n ds of i n di vi d u als (t h e “ D e vi c e Us ers ”) h a v e ass ert e d t h e y s uff er e d a

p ers o n al i nj ur y fr o m t h eir us e of C P A P or Bi P A P d e vi c es m a n uf a ct ur e d a n d r e c all e d b y P hili ps R S

(t h e “ R e c all e d D e vi c es ”). 2    T h e D e vi c e Us ers h a v e ass ert e d t h at t h e f o a m us e d i n t h e R e c all e d

D e vi c es ( a) br e a ks i nt o p arti cl es t h at m a y t h e n b e i n h al e d or i n g est e d b y t h e D e vi c e Us er, a n d

( b) e mits c ert ai n v ol atil e or g a ni c c o m p o u n ds ( “ V O Cs ”), i n cl u di n g V O Cs e mitt e d w h e n t h e f o a m

d e gr a d es. T h e D e vi c e Us ers h a v e all e g e d v ari o us r es pir at or y i nj uri es a n d c a n c ers as t h eir p ers o n al

i nj uri es, cl ai mi n g p e c u ni ar y, n o n- p e c u ni ar y, a n d p u niti v e d a m a g es.

           2.         T h e P hili ps D ef e n d a nts h a v e m ai nt ai n e d, a n d c o nti n u e t o m ai nt ai n, t h at t h e D e vi c e

Us ers’ cl ai ms a g ai nst t h e P hili ps D ef e n d a nts ar e d e v oi d of m erit f or a v ari et y of r e as o ns. A m o n g

ot h ers, t h e c o m p o u n ds i n cl u d e d i n a n y e mitt e d f o a m a n d a n y V O Cs ar e w ell wit hi n l o n g-

est a blis h e d, a n d s ci e ntifi c all y s u p p ort e d, s af et y l e v els.




2
           A list of t h e R e c all e d D e vi c es is at htt ps:// w w w. us a. p hili ps. c o m/ h e alt h c ar e/ e/sl e e p/
c o m m u ni c ati o ns/sr c- u p d at e (l ast visit e d A u g. 1 3, 2 0 2 4).
                                                                        - 2-
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           3.         N o n et h el ess, t o a v oi d t h e u n c ert ai nt y of liti g ati o n, a n d as a n n o u n c e d o n A pril 2 9,

2 0 2 4, t h e P hili ps D ef e n d a nts h a v e e nt er e d i nt o a n a gr e e m e nt t h at w o ul d est a blis h a $ 1. 0 5 billi o n

s ettl e m e nt f u n d (t h e “ S ettl e m e nt F u n d ”) t o c o m p e ns at e D e vi c e Us ers, i n cl u di n g t h os e D e vi c e

Us ers w h o us e d o n e of S o Cl e a n’s oz o n e- b as e d cl e a ni n g d e vi c es ( “ S o Cl e a n D e vi c es ”) wit h t h eir

R e c all e d D e vi c es .3   As s et f ort h i n m or e d et ail b el o w, f or t h os e D e vi c e Us ers w h o us e d a S o Cl e a n

D e vi c e wit h t h eir R e c all e d D e vi c es, t h e P hili ps D ef e n d a nt s ar e e ntitl e d t o c o ntri b uti o n a n d

i n d e m nit y fr o m S o Cl e a n a n d t h e pri v at e e q uit y fir m t h at c o ntr ols it, D W H P.

           4.         T h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n a n d i n d e m nit y i n t w o s e p ar at e

r es p e cts.

           5.         First , wit h r es p e ct t o p a y m e nts fr o m t h e S ettl e m e nt F u n d, a n i n d e p e n d e nt t hir d-

p art y s ettl e m e nt a d mi nistr at or ( wit h o ut t h e i n v ol v e m e nt of t h e P hili ps D ef e n d a nts) is all o c ati n g

t h e $ 1. 0 5 billi o n S ettl e m e nt F u n d t o D e vi c e Us ers wit h pr o v e n r es pir at or y i nj uri es ( “ Q u alif yi n g

R es pir at or y I nj uri es ”) a n d pr o v e n c a n c ers ( “ Q u alif yi n g C a n c ers ”).          F or t h at p orti o n of t h e

S ettl e m e nt F u n d p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d

w h o ar e p ai d f or a Q u alif yi n g            R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o

c o ntri b uti o n a n d i n d e m nit y f or t h e h ar ms c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e

t hr o u g h dir e ct oz o n e i n h al ati o n .       It is w ell- est a blis h e d t h at dir e ct o z o n e i n h al ati o n c a us es

n u m er o us r es pir at or y i nj uri es, i n cl u di n g r e d u c e d l u n g f u n cti o n, a n d w ors e ns p ati e nts’ e xisti n g

c hr o ni c r es pir at or y dis e as es.     At t his st a g e, h o w e v er, gi v e n t h e a bs e n c e of s ci e ntifi c lit er at ur e

c o n n e cti n g dir e ct o z o n e i n h al ati o n      wit h c a n c ers, t h e P hili ps       D ef e n d a nts ar e n ot s e e ki n g




3
             T h e S o Cl e a n D e vi c es i n cl u d e at l e ast t h e S o Cl e a n 1, t h e S o Cl e a n 2, t h e S o Cl e a n 2 G o, t h e
S o Cl e a n 3, a n d t h e S o Cl e a n 3 +.
                                                                     - 3-
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c o ntri b uti o n or i n d e m nit y fr o m t h e T hir d- P art y D ef e n d a nts f or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d f or Q u alif yi n g C a n c ers.

           6.         S e c o n d , f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), c o nti n u e t o p urs u e p ers o n al i nj ur y liti g ati o n, a n d

us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e, t h e T hir d- P art y D ef e n d a nts b e ar r es p o nsi bilit y,

eit h er i n w h ol e or i n p art, f or a n y j u d g m e nt t h e D e vi c e Us er is a bl e t o o bt ai n. F or t his c at e g or y,

t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y (i. e., n ot li mit e d t o Q u alif yi n g

R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s

c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

           7.         B as e d o n pr eli mi n ar y i nf or m ati o n pr o vi d e d b y t h e i n d e p e n d e nt t hir d- p art y

s ettl e m e nt a d mi nistr at or, c o m bi n e d wit h i nf or m ati o n pr o vi d e d b y D e vi c e Us ers o n t h eir Pl ai ntiff

F a ct S h e ets, C e ns us F or ms, a n d A c c el er at e d I m pl e m e nt ati o n O pti o n dis cl os ur es, at l e ast 4. 9 % of

D e vi c e Us ers eli gi bl e f or p a y m e nt fr o m t h e S ettl e m e nt F u n d wit h a Q u alif yi n g R es pir at or y I nj ur y

ar e c o nfir m e d S o Cl e a n D e vi c e us ers w h o li v e i n st at es w h er e c o ntri b uti o n is a n eli gi bl e r e m e d y.

( T h at p er c e nt a g e m a y i n cr e as e i n t h e f ut ur e as m or e i nf or m ati o n is l e ar n e d r e g ar di n g S o Cl e a n

D e vi c e us a g e a m o n g D e vi c e Us ers, i n cl u di n g t hr o u g h dis c o v er y of c ust o m er lists.)

           8.         S o Cl e a n a n d it s pri v at e e q uit y s p o ns or, D W H P, r e c kl essl y ( or w ors e) r el e as e d

S o Cl e a n D e vi c es i nt o t h e m ar k et pl a c e. E v e n w ors e, S o Cl e a n, a cti n g as D W H P’s alt er e g o, i n vit e d

c ust o m ers t o us e its d e vi c es wit h P hili ps R S d e vi c es b y m a ki n g m ulti pl e cl ai ms t h at it s pr o d u cts

w er e “ c o m p ati bl e ” wit h t h e P A P d e vi c es m a n uf a ct ur e d b y P hili ps R S. S o Cl e a n m a n uf a ct ur e d a n d

m ar k et e d t h e S o Cl e a n D e vi c es as s af e a n d eff e cti v e f or cl e a ni n g P A P d e vi c es, i n cl u di n g, b y n a m e,

t h e d e vi c es m a n uf a ct ur e d b y P hili ps R S (t h e “ P hili ps R es pir o ni cs P A Ps ”). S o Cl e a n als o m ar k et e d




                                                                     - 4-
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a n d s ol d t o c o ns u m ers a d a pt ers t h at S o Cl e a n d esi g n e d t o c o n n e ct S o Cl e a n D e vi c es s p e cifi c all y t o

P hili ps R es pir o ni cs P A Ps.

           9.         B ut i n r e alit y, t h e S o Cl e a n D e vi c es i nj e ct e d t o xi c o z o n e g as i nt o t h e i nt eri ors of

P hili ps R es pir o ni cs P A Ps a n d als o i nt o t h e h o m es of D e vi c e Us ers. T h e a m o u nt of o z o n e S o Cl e a n

D e vi c es r el e as e is s u bst a nti al. I n d e p e n d e nt l a b or at or y t est s c o n d u ct e d i n 2 0 1 9  t esti n g of w hi c h

S o Cl e a n w as a w ar e c o nt e m p or a n e o usl y  s h o w t h at S o Cl e a n D e vi c es r el e as e o z o n e at a l e v el t h at

f ar e x c e e ds f e d er al li mits. F or i nst a n c e, m e as uri n g o z o n e at t h e e n d of a S o Cl e a n cl e a ni n g c y cl e,

t esti n g of t h e air c o nt e nt of a c h a m b er c o nt ai ni n g t h e S o Cl e a n D e vi c e c o n n e ct e d t o a P A P f o u n d

t h e o z o n e l e v el, aft er j ust o n e us e of t h e S o Cl e a n D e vi c e, w as m or e t h a n 5 6 0 ti m es t h e r e g ul at or y

li mit. F urt h er t esti n g fr o m R es e ar c h Tri a n gl e L a b i n 2 0 2 1 s h o w e d t h at t h e S o Cl e a n 2 d e vi c es e mit

o z o n e i nt o t h e a m bi e nt e n vir o n m e nt at 3 0 t o 4 0 ti m es t h e r e g ul at or y li mit.4             A d diti o n all y, as

e vi d e n c e d b y F D A t esti n g, u ns af e l e v els of o z o n e r e m ai n i n t h e P A P t a n k, h os e, a n d m as k

f oll o wi n g t h e e n d of a cl e a ni n g c y cl e. P A P us ers c a n t h e n i n h al e t his r esi d u al o z o n e u p o n us e of

t h eir P A P d e vi c e.

           1 0.       I n a d diti o n, S o Cl e a n k n e w or s h o ul d h a v e k n o w n t h at its pr o d u ct l e a k e d o z o n e i nt o

t h e s urr o u n di n g e n vir o n m e nt.    S o Cl e a n f als el y cl ai m e d t o c o ns u m ers t h at all o z o n e e x p os ur e

w o ul d b e li mit e d t o a s o- c all e d “ cl os e d cir c uit ” of t h e i nt eri or of t h e S o Cl e a n d e vi c e, P A P d e vi c e,

a n d P A P a c c ess ori es, pr e cl u di n g a n y o z o n e fr o m es c a pi n g i nt o t h e D e vi c e Us er’s h o m e. T h at w as

f als e. S o Cl e a n r e c kl essl y ( at mi ni m u m) i g n or e d t h e f a ct t h at P A P d e vi c es c o nt ai n a n air i nt a k e

s yst e m (i. e., a p at h w h er e air e nt ers t h e P A P d e vi c e fr o m t h e at m os p h er e).             O z o n e es c a p es t h at

cir c uit a n d i nt o t h e s urr o u n di n g ar e a w h e n e v er o z o n e is p u m p e d t hr o u g h a P A P. S o Cl e a n als o

p ai d i n a d e q u at e att e nti o n t o t h e f a ct t h at o z o n e g as c a n l e a k i nt o t h e e n vir o n m e nt t hr o u g h


4
           S e e E C F N o. 1 4 1, ¶ ¶ 2 3 1- 2 3 7.
                                                                     - 5-
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c o n n e cti o ns i n S o Cl e a n’s pr o d u ct l o o p, s u c h as g a ps i n t h e c o n n e cti o n of h os es t o t h e P A P a n d

S o Cl e a n a n d pr o d u ct filt ers.

          1 1.       O z o n e c a us es a l e n gt h y list of h e alt h pr o bl e ms i n cl u di n g, i nt er ali a, l u n g d a m a g e,

ast h m a, C O P D, a n d c o m pr o mis e d r es pir at or y i m m u nit y —t h e s a m e c o n diti o ns all e g e d b y D e vi c e

Us ers t o h a v e b e e n c a us e d b y us e of t h eir R e c all e d D e vi c es. F D A h as e x pr essl y w ar n e d t h e p u bli c

of r e p orts fr o m “ p ati e nt s e x p eri e n ci n g c o u g h, diffi c ult br e at hi n g, n as al irrit ati o n, h e a d a c h es,

ast h m a att a c ks a n d ot h er br e at hi n g c o m pl ai nts w h e n o z o n e g as- b as e d pr o d u cts w er e us e d t o cl e a n,

s a niti z e or disi nf e ct C P A P d e vi c es a n d a c c ess ori e s. ” 5    Si mil arl y, E P A c a uti o ns t h at e x p os ur e t o

e v e n “r el ati v el y l o w a m o u nts ” of o z o n e c a n c a us e h ar m t o t h e h u m a n b o d y. 6    F urt h er, a n u m b er

of st u di es h a v e f o u n d t h at o z o n e e x p os ur e is, at a mi ni m u m, a c o ntri b uti n g c a us e t o s e v er al

r es pir at or y i nj uri es i n cl u d e d a m o n g t h e     Q u alif yi n g R es pir at or y I nj uri es, s u c h as C O P D, 7

p ul m o n ar y fi br osis, 8 a n d a c ut e r es pir at or y distr ess s y n dr o m e.9

          1 2.       N ot o nl y d o S o Cl e a n D e vi c es e x p os e us ers of P hili ps R es pir o ni cs P A Ps t o a k n o w n

t o xi c g as, S o Cl e a n’s o z o n e att a c ks t h e f o a m i n t h e P hili ps R es pir o ni cs P A Ps, c a usi n g or, at t h e


5
             F D A, F D A R e mi n ds P ati e nts t h at D e vi c es Cl ai mi n g t o Cl e a n, Disi nf e ct or S a nitiz e C P A P
M a c hi n es Usi n g Oz o n e G as or U V Li g ht H a v e N ot B e e n F D A A ut h oriz e d ( F e b. 2 7, 2 0 2 0),
w w w.f d a. g o v/ n e ws- e v e nts/ pr ess- a n n o u n c e m e nts/f d a-r e mi n ds- p ati e nts- d e vi c es- cl ai mi n g- cl e a n-
disi nf e ct- or-s a niti z e- c p a p- m a c hi n es- usi n g- o z o n e- g as- or (l ast visit e d A u g. 1 3, 2 0 2 4).
6
              E P A, Oz o n e G e n er at ors t h at Ar e S ol d as Air Cl e a n ers, w w w. e p a. g o v/i n d o or- air- q u alit y-
i a q/ o z o n e- g e n er at ors- ar e-s ol d- air - cl e a n ers #: ~:t e xt = of % 2 0 m a n uf a ct ur ers % 2 7 % 2 0 cl ai ms.,
H o w % 2 0is % 2 0 O z o n e % 2 0 H ar mf ul % 3 F, o z o n e % 2 0 c a n % 2 0 d a m a g e % 2 0t h e % 2 0l u n gs (l ast visit e d
A u g. 1 3, 2 0 2 4).
7
            S e e, e. g. , H ui G a o et al., A S yst e m ati c R e vi e w a n d M et a- A n al ysis of S h ort- T er m A m bi e nt
Oz o n e E x p os ur e a n d C O P D H os pit aliz ati o ns , 1 7 IN T ’ L J. O F E N V . R E S E A R C H & P U B . H E A L T H 2 1 3 0
( 2 0 2 0).
8
           S e e, e. g. , K erri A. J o h a nss o n et al., A c ut e E x a c er b ati o n of I di o p at hi c P ul m o n ar y Fi br osis
Ass o ci at e d wit h Air P oll uti o n E x p os ur e , 4 3 EU R . R E S PI R A T O R Y J. 1 1 2 4, 1 1 2 8- 2 9 ( 2 0 1 3).
9
           S e e, e. g. , M ar c o C o nf al o ni eri et al., A c ut e R es pir at or y Dist r ess S y n dr o m e , 2 6 EU R .
R E S PI R A T O R Y . R E V . 1 6 0 1 1 6 ( 2 0 1 7).
                                                                   - 6-
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v er y l e ast, si g nifi c a ntl y e x a c er b ati n g f o a m d e gr a d ati o n. T elli n gl y, S o Cl e a n h as n e v er dis p ut e d

o v er a b o ut t hr e e y e ars of liti g ati o n t h at it s o z o n e c o ntri b ut es t o f o a m d e gr a d ati o n i n P hili ps

R es pir o ni cs P A Ps.       N or c o ul d it. I n d e p e n d e nt t hir d- p art y t esti n g h as d e m o nstr at e d t h at o z o n e

e x p os ur e c a us es or, at t h e v er y l e ast, dr a m ati c all y a c c el er at es f o a m d e gr a d ati o n i n P hili ps

R es pir o ni cs P A Ps. I n d e p e n d e nt t esti n g als o h as d e m o nstr at e d t h at o z o n e e x p os ur e r es ults i n

el e v at e d l e v els of V O C e mi ssi o ns. T h es e ar e t h e s a m e all e g e d i nj ur y c a us es (f o a m d e gr a d ati o n,

V O Cs) ass ert e d a g ai nst t h e P hili ps D ef e n d a nts b y D e vi c e Us ers.

           1 3.       N o o n e h as e v er e n d ors e d t h e us e of S o Cl e a n D e vi c es t o cl e a n P hili ps R es pir o ni cs

P A Ps ot h er t h a n S o Cl e a n. P hili ps R S dir e ct e d us ers i n its Us er M a n u al t o cl e a n t h e d e vi c e a n d

t u bi n g wit h “ w at er a n d a mil d li q ui d dis h w as hi n g d et er g e nt. ” T h e F D A h as r e p e at e dl y w ar n e d

S o Cl e a n a n d t h e p u bli c a b o ut t h e h ar m s t h at o z o n e p os es t o t h eir h e alt h a n d t h eir P A P d e vi c es.

F D A h as i n di c at e d t h er e is n o r e as o n t o us e o z o n e i n c o n n e cti o n wit h P A P u nits, a d visi n g P A P

us ers t o “f oll o w t h e cl e a ni n g i nstr u cti o ns pr o vi d e d b y t h e C P A P’s m a n uf a ct ur er, w hi c h n or m all y

i n cl u d e r e g ul ar cl e a ni n g wit h s o a p a n d w at er. ” 1 0 I n f a ct, o n N o v e m b er 2 1, 2 0 2 3, as r efl e ct e d i n a n

F D A S af et y C o m m u ni c ati o n, S o Cl e a n i niti at e d a r e c all i n w hi c h it w as r e q uir e d t o i ntr o d u c e a n

a d a pt er i nt o t h e m ar k et t o e ns ur e t h at o z o n e w o ul d n ot e nt er t h e i nt eri or of t h e P A P d e vi c e.1 1




10
           S e e F D A, F D A R e mi n ds P ati e nts t h at D e vi c es Cl ai mi n g T o Cl e a n, Disi nf e ct or S a nitiz e
C P A P M a c hi n es Usi n g Oz o n e G as or U V Li g ht H a v e N ot B e e n F D A A ut h oriz e d ( F e b. 2 7, 2 0 2 0),
w w w.f d a. g o v/ n e ws- e v e nts/ pr ess- a n n o u n c e m e nts/f d a-r e mi n ds- p ati e nts- d e vi c es- cl ai mi n g- cl e a n-
disi nf e ct- or-s a niti z e- c p a p- m a c hi n es- usi n g- o z o n e- g as- or (l ast visit e d A u g. 1 3, 2 0 2 4).
11
            S e e F D A, V ol u nt ar y R e c all of S o Cl e a n E q ui p m e nt I nt e n d e d f or Us e wit h C P A P D e vi c es
a n d A c c ess ori es: F D A S af et y C o m m u ni c ati o n ( N o v. 2 1, 2 0 2 3), htt ps:// w w w.f d a. g o v/ m e di c al-
d e vi c es/s af et y- c o m m u ni c ati o ns/ v ol u nt ar y-r e c all-s o cl e a n- e q ui p m e nt-i nt e n d e d- us e- c p a p- d e vi c es-
a n d- a c c ess ori es-f d a-s af et y (l ast visit e d A u g. 1 3, 2 0 2 4). N ot a bl y, S o Cl e a n’s p e n di n g d e n o v o
a p pli c ati o n f or t h e S o Cl e a n 3 +, if a p pr o v e d, w o ul d all o w S o Cl e a n t o m ar k et a n d s ell it s d e vi c e
o nl y f or c ert ai n P A P a c c ess ori es , n ot f or t h e P A P u nits t h e ms el v es.
                                                                       - 7-
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           1 4.       F or y e ars, S o Cl e a n h as k n o w n a b o ut t h e d estr u cti v e pr o p erti es of o z o n e, i n cl u di n g

a m bi e nt o z o n e l e a k a g e a n d f o a m d e gr a d ati o n, y et it hi d t h e ris ks ass o ci at e d wit h its o z o n e- b as e d

d e vi c es. S o Cl e a n n eit h er dis cl os e d n or att e m pt e d t o miti g at e t h es e ris ks, i nst e a d c o nti n ui n g t o

m ar k et it s d e vi c es as s af e a n d eff e cti v e f or us e wit h P A P d e vi c es, i n cl u di n g P hili ps R es pir o ni cs

P A Ps.

           1 5.       F or a n y Q u alif yi n g R es pir at or y I nj uri es of a s ettli n g D e vi c e Us er w h er e t h e s ettli n g

D e vi c e Us er als o us e d a S o Cl e a n D e vi c e, S o Cl e a n’s n e gli g e nt a n d i nt e nti o n all y misl e a di n g

c o n d u ct will h a v e c o ntri b ut e d t o t h os e i nj uri es t hr o u g h dir e ct o z o n e i n h al ati o n, m a ki n g S o Cl e a n

li a bl e i n c o ntri b uti o n a n d i n d e m nit y f or its r el ati v e c ul p a bilit y. Li k e wis e, t o t h e e xt e nt t h e P hili ps

D ef e n d a nts m a y i n t h e f ut ur e b e ar fi n a n ci al r es p o nsi bilit y f or a n y p ers o n al i nj ur y all e g e d b y n o n-

s ettli n g D e vi c e Us ers, if s u c h n o n-s ettli n g D e vi c e Us ers als o us e d a S o Cl e a n D e vi c e wit h his or

h er R e c all e d D e vi c e, S o Cl e a n’s n e gli g e nt a n d i nt e nti o n all y            misl e a di n g c o n d u ct     will h a v e

c o ntri b ut e d t o t h os e all e g e d h ar ms b ot h t hr o u g h dir e ct o z o n e i n h al ati o n a n d als o b y a c c el er ati n g

t h e d e gr a d ati o n of t h e f o a m a n d r el e as e of p arti cl es a n d V O Cs. S o Cl e a n will t h er ef or e b e li a bl e

i n c o ntri b uti o n a n d i n d e m nit y f or it s r el ati v e c ul p a bilit y i n c a usi n g t h os e all e g e d i nj uri es.

           1 6.       B ut t h es e c o ntri b uti o n a n d i n d e m nifi c ati o n c osts s h o ul d n ot b e b or n e b y S o Cl e a n

al o n e. T h e irr es p o nsi bl e c o n d u ct of S o Cl e a n w as t a k e n at t h e e x pr ess i nstr u cti o n of its c or p or at e

p ar e nt, S o Cl e a n P ar e nt, as w ell as S o Cl e a n P ar e nt’s c o ntr oll ers — a n et w or k of f u n ds m a n a g e d b y

D W H P.       All of t h es e e ntiti es ar e i m pli c at e d i n S o Cl e a n’s f a ult y pr o d u ct d esi g n a n d e ns ui n g

r e c kl ess c o n d u ct.

           1 7.       T hr o u g h a c q uisiti o n d u e dili g e n c e, D W H P — w hi c h est e e ms it s elf as s p e ci ali zi n g

i n h e alt h c ar e s e ct or i n v est m e nts — k n e w or s h o ul d h a v e k n o w n t h at: (i) e x p os ur e t o o z o n e is t o xi c,

(ii) t h e o z o n e i n S o Cl e a n’s d e vi c es w as k n o w n t o d e gr a d e t h e c o m p o n e nts of t h e v er y P A P d e vi c es

                                                                       - 8-
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S o Cl e a n d esi g n e d t h e m t o cl e a n, i n cl u di n g P hili ps R es pir o ni cs P A Ps, (iii) t h at o z o n e l e a ks i nt o

t h e a m bi e nt e n vir o n m e nt a n d h ar ms us ers, a n d (i v) t h at S o Cl e a n w as m ar k eti n g, pr o m oti n g, a n d

s elli n g it s d e vi c es wit h o ut r e q uir e d F D A a p pr o v al or cl e ar a n c e.

           1 8.        S e ei n g t h es e ris ks, D W H P l eft S o Cl e a n u n d er c a pit ali z e d a n d u n d eri ns ur e d w hil e

l o a di n g it wit h d e bt t o D W H P’s b e n efit.              S o Cl e a n b e c a m e D W H P’s alt er e g o, wit h D W H P

d o mi n ati n g S o Cl e a n’s aff airs wit h o ut r e g ar d t o t h e e xist e n c e of S o Cl e a n as a s e p ar at e c or p or at e

e ntit y, w hil e att e m pti n g t o i ns ul at e its elf fr o m a n y e x p os ur e b y fi ctiti o usl y m ai nt ai ni n g S o Cl e a n

as a s e p ar at e c or p or ati o n o n p a p er.

           1 9.        I m pl e a di n g T hir d- P art y D ef e n d a nts will n ot pr ej u di c e T hir d- P art y D ef e n d a nts or

t h e r el e v a nt D e vi c e Us ers gi v e n t h e c urr e nt st a g e of t h e u n d erl yi n g liti g ati o n a n d t h e r e c e ntl y

a n n o u n c e d s ettl e m e nt.   O n t h e ot h er h a n d, T hir d- P art y Pl ai ntiffs will s uff er pr ej u di c e if T hir d-

P art y D ef e n d a nts ar e n ot i m pl e a d e d i nt o t his a cti o n.      As d e m o nstr at e d t hr o u g h o ut t his pl e a di n g,

t h er e is s u bst a nti al e vi d e n c e t h at T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e, eit h er i n w h ol e or at l e ast

i n p art, f or li a bilit y all e g e d b y t h os e D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es. S e e f n. 1 a b o v e.

           2 0.        F or t h e r e as o ns s et f ort h i n t h e bri efi n g l e a di n g t o t h e C o urt’s e ntr y of Pr etri al Or d er

N o. 3 1, r es ol vi n g T hir d- P art y D ef e n d a nts’ li a bilit y i n t his pr o c e e di n g will e n h a n c e j u di ci al

effi ci e n c y.

           2 1.        T hir d- P art y    D ef e n d a nts’ n e gli g e nt a n d i nt e nti o n all y     mi sl e a di n g c o n d u ct h as

c o ntri b ut e d t o t h e n e gli g e n c e cl ai ms f or w hi c h t h e P hili ps D ef e n d a nts ar e b e ari n g or m a y i n t h e

f ut ur e b e ar fi n a n ci al r es p o nsi bilit y, m a ki n g t h e T hir d- P art y D ef e n d a nts li a bl e i n c o ntri b uti o n a n d

i n d e m nit y f or t h eir r el ati v e c ul p a bilit y.




                                                                      - 9-
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                                                                T H E P A R TI E S

           2 2.      T hir d- P art y Pl ai ntiff K o ni n klij k e P hili ps N. V. is a D ut c h h ol di n g c o m p a n y wit h its

pri n ci p al pl a c e of b usi n ess i n A mst er d a m, t h e N et h erl a n ds.

           2 3.      T hir d- P art y Pl ai ntiff P hili ps N ort h A m eri c a L L C i s a D el a w ar e li mit e d li a bilit y

c o m p a n y wit h its pri n ci p al pl a c e of b usi n ess i n M ass a c h us etts. Its s ol e m e m b er is P hili ps H ol di n g

U S A, I n c.

           2 4.      T hir d- P art y Pl ai ntiff P hili ps H ol di n g U S A, I n c. is a D el a w ar e h ol di n g c o m p a n y

wit h its pri n ci p al pl a c e of b usi n ess i n M ass a c h us etts.

           2 5.      T hir d- P art y Pl ai ntiff P hili ps R S N ort h A m eri c a L L C is a D el a w ar e li mit e d li a bilit y

c o m p a n y h e a d q u art er e d i n P e n ns yl v a ni a. Its s ol e m e m b er is P hili ps R S N ort h A m eri c a H ol di n g

C or p or ati o n.

           2 6.      T hir d- P art y Pl ai ntiff P hili ps R S N ort h A m eri c a H ol di n g C or p or ati o n is a D el a w ar e

h ol di n g c o m p a n y wit h its pri n ci p al pl a c e of b usi n ess i n M ass a c h us etts.

           2 7.      T hir d- P art y D ef e n d a nt S o Cl e a n, I n c. ( “ S o Cl e a n ”) is a D el a w ar e c or p or ati o n wit h

its pri n ci p al pl a c e of b usi n ess i n P et er b or o u g h, N e w H a m ps hir e. S o Cl e a n s ol d its pr o d u cts i n

i nt erst at e c o m m er c e t hr o u g h o ut t h e U nit e d St at es.

           2 8.      T hir d- P art y D ef e n d a nt D W         M a n a g e m e nt S er vi c es, L L C, d/ b/ a D W H e alt h c ar e

P art n ers, is a D el a w ar e c o m p a n y wit h its pri n ci p al pl a c e of b usi n ess i n P ar k Cit y, Ut a h.              T he

m e m b ers of D W H P r esi d e i n P ar k Cit y, Ut a h, a n d T or o nt o, C a n a d a.

                                              J U RI S DI C TI O N A N D V E N U E

           2 9.      T his C o urt h as s u p pl e m e nt al j uris di cti o n o v er t h e s u bj e ct m att er of t his T hir d- P art y

C o m pl ai nt p urs u a nt t o 2 8 U. S. C. § 1 3 6 7( a).         T h e cl ai ms i n t his T hir d- P art y C o m pl ai nt ar e s o

r el at e d t o a n d i nt ert wi n e d wit h t h e cl ai ms at iss u e i n t h e r e m ai n d er of t h e c as e, o v er w hi c h t h e

                                                                    - 1 0-
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C o urt h as ori gi n al j uris di cti o n u n d er 2 8 U. S. C. § 1 3 3 2, t h at t h e y f or m p art of t h e s a m e “ c as e or

c o ntr o v ers y ” u n d er Arti cl e III of t h e U nit e d St at es C o nstit uti o n.

           3 0.       B e c a us e t h e cl ai ms ass ert e d i n t his T hir d- P art y C o m pl ai nt ar e cl os el y r el at e d t o a n d

i nt ert wi n e d wit h t h e cl ai ms i n t h e m ai n c as es fil e d b y D e vi c e Us ers a g ai nst t h e P hili ps D ef e n d a nts,

v e n u e is als o pr o p er i n t his C o urt f or pr etri al pr o c e e di n gs, a n d v e n u e is pr o p er i n e a c h of t h e c o urts

i n w hi c h t h e D e vi c e Us ers’ c as es w er e ori gi n all y fil e d. S e e, e. g. , O’ Bri e n v. All e n, 1 3 7 F. S u p p.

6 9 1 ( W. D. P a. 1 9 5 5) ( “ T h e pr o visi o ns of S e c. 1 3 9 1( a) h a v e n o a p pli c ati o n t o a t hir d- p art y

d ef e n d a nt . . . . [ A] t hir d- p art y pr o c e e di n g is a n cill ar y t o t h e m ai n a cti o n a n d t h e r estri cti o ns o n

v e n u e d o n ot a p pl y t o it. ”).        B y ass erti n g t h at v e n u e is pr o p er f or t h e p ur p os es of pr etri al

pr o c e e di n gs wit h r es p e ct t o t his T hir d- P art y C o m pl ai nt p urs u a nt t o 2 8 U. S. C. § 1 4 0 7, t h e P hili ps

D ef e n d a nts d o n ot w ai v e t h eir ri g ht t o r e q u est t h at t h e c as es fil e d a g ai nst t h e m b e tr a nsf err e d b a c k

t o t h eir r es p e cti v e tr a nsf er or c o urts f or tri al.

                                                      F A C T U A L A L L E G A TI O N S

     I.    O z o n e a n d Its Ris k s W h e n I n h al e d

           3 1.       O z o n e c o nsists of t hr e e o x y g e n at o ms. As E P A h as e x pl ai n e d, o z o n e “ cl e a ns ” b y

s h e d di n g o n e of its t hr e e o x y g e n at o m s, w hi c h b o n ds wit h t h e m ol e c ul es of ot h er s u bst a n c es,

alt eri n g t h eir c h e mi c al c o m p ositi o ns. 1 2       T his r e a cti o n, k n o w n as o xi d ati o n, c a n kill vir us es,

b a ct eri a, a n d o d ors.    B ut, as E P A st at e d i n r el a yi n g t h e d a n g ers of usi n g o z o n e- b as e d pr o d u cts

i n d o ors, “[t] h e s a m e c h e mi c al pr o p erti es t h at all o w hi g h c o n c e ntr ati o ns of o z o n e t o r e a ct wit h




12
              E P A, Oz o n e G e n er at ors t h at Ar e S ol d as Air Cl e a n ers, w w w. e p a. g o v/i n d o or- air- q u alit y-
i a q/ o z o n e- g e n er at ors- ar e-s ol d- air - cl e a n ers #: ~:t e xt = of % 2 0 m a n uf a ct ur ers % 2 7 % 2 0 cl ai ms.,
H o w % 2 0is % 2 0 O z o n e % 2 0 H ar mf ul % 3 F, o z o n e % 2 0 c a n % 2 0 d a m a g e % 2 0t h e % 2 0l u n gs (l ast visit e d
A u g. 1 3, 2 0 2 4).

                                                                     - 1 1-
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or g a ni c m at eri al o utsi d e t h e b o d y gi v e it t h e a bilit y t o r e a ct wit h si mil ar or g a ni c m at eri al t h at

m a k es u p t h e b o d y, a n d p ot e nti all y c a us e h ar mf ul h e alt h c o ns e q u e n c es. ” 1 3

            3 2.      As a d vis e d b y E P A a n d F D A a n d i n c or p or at e d i nt o f e d er al r e g ul ati o ns m a n d ati n g

o z o n e li mits f or m e di c al d e vi c es, “f or o z o n e t o b e eff e cti v e as a g er mi ci d e, it m ust b e pr es e nt i n a

c o n c e ntr ati o n f ar gr e at er t h a n t h at w hi c h c a n b e s af el y t ol er at e d b y m a n a n d a ni m als. ” 1 4

            3 3.      A m o n g ot h er h ar m s, o z o n e c a n h ar m t h e r es pir at or y s yst e m a n d p er m a n e ntl y

d a m a g e t h e l u n gs. F or p e o pl e alr e a d y i n p o or h e alt h ( e. g. , m a n y of t h e i n di vi d u als w h o m a y b e

pr es cri b e d P A P d e vi c es), r e p e at e d e x p os ur e t o o z o n e c a n i n cr e as e t h e ri s k of d yi n g. 1 5              W hil e

p e o pl e wit h c hr o ni c h e alt h c o n diti o ns ar e p arti c ul arl y s us c e pti bl e t o o z o n e, o z o n e als o c a n cr e at e

h e alt h pr o bl e ms i n ot h er wis e h e alt h y p e o pl e. 1 6

            3 4.      E v e n r el ati v el y l o w a m o u nts of o z o n e c a n r es ult i n c o u g hi n g, t hr o at irrit ati o n,

s h ort n ess of br e at h, a n d c h est p ai n. 1 7      T h es e s y m pt o ms c a n o c c ur wit hi n mi n ut es of e v e n a si n gl e

e x p os ur e. 1 8



13
            I d.
14
             2 1 C. F. R. § 8 0 1. 4 1 5( a).
15
              CO N N . D E P ’ T O F P U B . H E A L T H , Oz o n e G e n er at ors:                     W h at Y o u N e e d T o K n o w ,
p ort al. ct. g o v/-/ m e di a/ D e p art m e nts- a n d-
A g e n ci es/ D P H/ d p h/ e n vir o n m e nt al _ h e alt h/ e o h a/ p df/ o z o n e g e n er at orf a cts h e et p df. p df (l ast visit e d
A u g. 1 3, 2 0 2 4).
16
              E P A, Oz o n e G e n er at ors t h at Ar e S ol d as Air Cl e a n ers, w w w. e p a. g o v/i n d o or- air- q u alit y-
i a q/ o z o n e- g e n er at ors- ar e-s ol d- air- cl e a n ers #: ~:t e xt = of % 2 0 m a n uf a ct ur ers % 2 7 % 2 0 cl ai ms.,
% 2 0 H o w % 2 0is % 2 0 O z o n e % 2 0 H ar mf ul % 3 F, o z o n e % 2 0 c a n % 2 0 d a m a g e % 2 0t h e % 2 0l u n gs (l ast
visit e d A u g. 1 3, 2 0 2 4).
17
            I d.
18
             N Y S T A T E D E P ’ T O F H E A L T H , Oz o n e                           G e n er at ors as I n d o or                Cl e a n ers,
w w w. h e alt h. n y. g o v/ e n vir o n m e nt al/i n d o ors/ air/ o z o n e _ g e n er ati n g _ air _ cl e a n ers. ht m #: ~:t e xt = O z o n
e % 2 0 c a n % 2 0r e a ct % 2 0 wit h % 2 0 ot h er, h e alt h % 2 0 eff e ct % 2 0is % 2 0l ess % 2 0 c ert ai n (l ast visit e d
A u g. 1 3, 2 0 2 4).

                                                                       - 1 2-
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           3 5.       O z o n e als o c a us es a n d/ or w ors e ns ast h m a, i n cr e as es s us c e pti bilit y t o r es pir at or y

i nf e cti o ns (i n cl u di n g b y c o m pr o misi n g t h e b o d y’ s a bilit y t o fi g ht t h os e i nf e cti o ns), i nfl a m es l u n g

tiss u e, a n d d e cr e as es l u n g f u n cti o n.1 9

           3 6.       St u di es p u blis h e d i n p e er-r e vi e w e d j o ur n als h a v e f o u n d t h at o z o n e e x p os ur e c a n

c a us e or e x a c er b at e n u m er o us s e v er e r es pir at or y c o n diti o ns, s u c h as p ul m o n ar y fi br osis, a c ut e

r es pir at or y distr ess s y n dr o m e, a n d C O P D. 2 0

           3 7.       T h e f e d er al r e g ul ati o n di ct ati n g      m a xi m u m o z o n e l e v els f or     m e di c al d e vi c es

e x pr essl y r e c o g ni z es t h at i n h al ati o n of o z o n e c a n c a us e s uffi ci e nt h ar m t o t h e l u n gs t o r es ult i n

p ul m o n ar y e d e m a, w hi c h c a n r es ult i n d e at h. 2 1

           3 8.       I n a d diti o n t o a h ost of p ul m o n ar y-r el at e d iss u es, o z o n e e x p os ur e als o c a us es ot h er

s eri o us h e alt h c o n diti o ns.         F e d er al r e g ul ati o ns r e p ort t h e p ot e nti al f or o z o n e t o r es ult i n

“ u n d esir a bl e p h ysi ol o gi c al eff e cts o n t h e c e ntr al n er v o us s yst e m, h e art, a n d visi o n. ” 2 2              F or




19
              E P A, Oz o n e G e n er at ors t h at Ar e S ol d as Air Cl e a n ers, w w w. e p a. g o v/i n d o or- air- q u alit y-
i a q/ o z o n e- g e n er at ors- ar e-s ol d- air- cl e a n ers #: ~:t e xt = of % 2 0 m a n uf a ct ur ers % 2 7 % 2 0 cl ai ms.,
% 2 0 H o w % 2 0is % 2 0 O z o n e % 2 0 H ar mf ul % 3 F, o z o n e % 2 0 c a n % 2 0 d a m a g e % 2 0t h e % 2 0l u n gs         (l ast
visit e d A u g. 1 3, 2 0 2 4); E P A, H e alt h Eff e cts of Oz o n e P oll uti o n , htt ps:// w w w. e p a. g o v/ gr o u n d-
l e v el- o z o n e- p oll uti o n/ h e alt h- eff e cts- o z o n e- p oll uti o n #: ~:t e xt = S o m e % 2 0st u di es % 2 0i n %
2 0l o c ati o ns % 2 0 wit h, m a n y % 2 0 c a us es % 2 0 of % 2 0 ast h m a % 2 0 d e v el o p m e nt (l ast visit e d A u g. 1 3,
2 0 2 4); Cl air e E. At ki ns o n et al., Oz o n e i n t h e D e v el o p m e nt of P e di atri c Ast h m a a n d At o pi c
Dis e as e , 4 2 IM M U N O L O G Y & A L L E R G Y C LI NI C S O F N. A M . 7 0 1 ( 2 0 2 2).
20
            S e e, e. g. , H ui G a o et al., A S yst e m ati c R e vi e w a n d M et a- A n al ysis of S h ort- T er m A m bi e nt
Oz o n e E x p os ur e a n d C O P D H os pit aliz ati o ns , 1 7 IN T ’ L J. O F E N V . R E S E A R C H & P U B . H E A L T H 2 1 3 0
( 2 0 2 0); K erri A. J o h a nss o n et al., A c ut e E x a c er b ati o n of I di o p at hi c P ul m o n ar y Fi br osis Ass o ci at e d
wit h Air P oll uti o n E x p os ur e , 4 3 EU R . R E S PI R A T O R Y J. 1 1 2 4 ( 2 0 1 3); M ar c o C o nf al o ni eri et al.,
A c ut e R es pir at or y Distr ess S y n dr o m e , 2 6 EU R . R E S PI R A T O R Y . R E V . 1 6 0 1 1 6 ( 2 0 1 7).
21
           S e e 2 1 C. F. R. § 8 0 1. 4 1 5( b).
22
           I d.

                                                                       - 1 3-
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e x a m pl e, br e at hi n g o z o n e f or e v e n a s h ort p eri o d c a n w ors e n s y m pt o ms i n p e o pl e wit h h e art

dis e as e. 2 3

            3 9.         O z o n e als o “ c a n r e a ct wit h ot h er c h e mi c als i n t h e air t o pr o d u c e a d diti o n al

c h e mi c als a n d fi n e p arti cl es t h at c a n c a us e, a m o n g ot h er h e alt h c o n diti o ns, f urt h er irrit ati o n t o t h e

e y es, n os e, t hr o at, a n d l u n gs. ” 2 4

            4 0.         O z o n e i n cr e as es t h e t ot al n u m b er of V O Cs i n t h e air b y c o m bi ni n g wit h ot h er

c o m m o n h o us e h ol d c h e mi c als t o f or m “ d a n g er o us r e a cti o n pr o d u cts ” t h at c a n b e i n h al e d. 2 5           As

a d vis e d b y t h e C o n n e cti c ut D e p art m e nt of H e alt h:

                         O z o n e d o es n ot r e m o v e c h e mi c al c o nt a mi n a nts fr o m t h e air, b ut i n f a ct,
                         i n cr e as es c h e mi c al air p oll uti o n b y c o m bi ni n g wit h c h e mi c als t y pi c all y
                         f o u n d i n t h e h o m e, offi c e, or s c h o ol, s u c h as or di n ar y h o us e h ol d cl e a n ers,
                         pl u g-i n t y p e air fr es h e n ers, a n d p ers o n al h y gi e n e pr o d u cts. M a n y of t h es e
                         pr o d u cts c o nt ai n a cl ass of v ol atil e or g a ni c c o m p o u n ds ( V O Cs) c all e d
                         t er p e n es . . . . O z o n e c o m bi n es wit h t er p e n es t o f or m d a n g er o us r e a cti o n
                         pr o d u cts (i n cl u di n g f or m al d e h y d e, a k n o w n h u m a n c ar ci n o g e n a n d
                         r es pir at or y tr a ct irrit a nt) w hi c h m a y b e e v e n m or e irrit ati n g t h a n t h e p ar e nt
                         c h e mi c als. 2 6

            4 1.         Alt h o u g h r e c o v er y is p ossi bl e fr o m t h e h ar mf ul eff e cts of s h ort-t er m e x p os ur e t o

l o w l e v els of o z o n e, h e alt h eff e cts ar e m or e s eri o us — a n d r e c o v er y l ess c ert ai n — wit h hi g h er l e v els

or fr o m l o n g er e x p os ur es, s u c h as e x p os ur e fr o m a n o z o n e- g e n er ati n g d e vi c e i nt e n d e d a n d



23
             N Y S T A T E D E P ’ T O F H E A L T H , Oz o n e                           G e n er at ors as I n d o or                Cl e a n ers,
w w w. h e alt h. n y. g o v/ e n vir o n m e nt al/i n d o ors/ air/ o z o n e _ g e n er ati n g _ air _ cl e a n ers. ht m #: ~:t e xt = O z o n
e % 2 0 c a n % 2 0r e a ct % 2 0 wit h % 2 0 ot h er, h e alt h % 2 0 eff e ct % 2 0is % 2 0l ess % 2 0 c ert ai n (l ast visit e d
A u g. 1 3, 2 0 2 4).
24
            S e e i d.
25
              CO N N . D E P ’ T O F P U B . H E A L T H , Oz o n e G e n er at ors:                     W h at Y o u N e e d T o K n o w ,
p ort al. ct. g o v/-/ m e di a/ D e p art m e nts- a n d-
A g e n ci es/ D P H/ d p h/ e n vir o n m e nt al _ h e alt h/ e o h a/ p df/ o z o n e g e n er at orf a cts h e et p df. p df (l ast visit e d
A u g. 1 3, 2 0 2 4).
26
            I d.

                                                                       - 1 4-
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m ar k et e d f or d ail y us e ( i. e., a S o Cl e a n D e vi c e).2 7

 II.       S o Cl e a n’s D e v el o p m e nt of a F a ult y P A P Cl e a ni n g                   M a c hi n e Usi n g O z o n e as Its
           O p e r ati v e I n g r e di e nt

           4 2.        P A P us ers       m ust r e g ul arl y cl e a n t h eir P A P d e vi c e a n d a c c ess ori es.                   P AP

m a n uf a ct ur ers, i n cl u di n g P hili ps R S, r e c o m m e n d cl e a ni n g t h eir P A P d e vi c es wit h s o a p a n d w at er.

T his pr o c ess c a n b e ti m e- c o ns u mi n g. S e ei n g a n o p p ort u nit y, S o Cl e a n p ur p ort e d t o off er a m or e

c o n v e ni e nt alt er n ati v e.

           4 3.        S o Cl e a n b e g a n    m ar k eti n g t h e S o Cl e a n D e vi c es e x pr essl y f or us e wit h P A P

pr o d u cts. E a c h of t h es e d e vi c es o p er at es vi a a si mil ar pr o c ess, d esi g n e d t o c o n n e ct t h e S o Cl e a n

D e vi c e dir e ctl y t o t h e us er’s P A P m a c hi n e.        O n c e c o n n e ct e d, t h e S o Cl e a n D e vi c e p u m ps o z o n e

g as t hr o u g h n ot o nl y t h e P A P’s a c c ess ori es b ut al s o t h e P A P its elf.            At l e ast u ntil v er y r e c e ntl y,

t h e t e c h n ol o g y u n d er gir di n g t h e m a c hi n e m o d el h as r e m ai n e d r el ati v el y c o nst a nt t hr o u g h o ut

S o Cl e a n’s v ari o us pr o d u ct m o d els. 2 8

           4 4.        B y d esi g n, S o Cl e a n’s cl e a ni n g pr o c ess fl o o ds t h e P A P t a n k, h os e, a n d m as k wit h

o z o n e. As S o Cl e a n h as d es cri b e d:



27
           S e e E P A, Oz o n e G e n er at ors t h at Ar e S ol d as Air Cl e a n ers, w w w. e p a. g o v/i n d o or- air-
q u alit y-i a q/ o z o n e- g e n er at ors- ar e-s ol d- air- cl e a n ers #: ~:t e xt = of % 2 0 m a n uf a ct ur ers % 2 7 % 2 0 cl ai ms.,
% 2 0 H o w % 2 0is % 2 0 O z o n e % 2 0 H ar mf ul % 3 F, o z o n e % 2 0 c a n % 2 0 d a m a g e % 2 0t h e % 2 0l u n gs               (l ast
visit e d        A u g.      1 3,       2 0 2 4);     S o Cl e a n       2       Us er       M a n u al ( 2 0 1 9),        a c c essi bl e      at
htt ps:// w w w. dir e ct h o m e m e di c al. c o m/ a c c ess ori es/ s o cl e a n- 2- c p a p- cl e a n er-s a niti z er- m a n u al. p df
( “ T h e S o Cl e a n 2 att a c h es t o e q ui p m e nt a n d r u ns d ail y . . . . ”).
28
              As n ot e d a b o v e, o n N o v e m b er 2 1, 2 0 2 3, S o Cl e a n i niti at e d a r e c all i n w hi c h it w as r e q uir e d
t o i ntr o d u c e a n a d a pt er i nt o t h e m ar k et t o e ns ur e t h at o z o n e w o ul d n ot e nt er t h e i nt eri or of t h e P A P
d e vi c e. S e e F D A, V ol u nt ar y R e c all of S o Cl e a n E q ui p m e nt I nt e n d e d f or Us e wit h C P A P D e vi c es
a n d A c c ess ori es: F D A S af et y C o m m u ni c ati o n ( N o v. 2 1, 2 0 2 3), htt ps:// w w w.f d a. g o v/ m e di c al-
d e vi c es/s af et y- c o m m u ni c ati o ns/ v ol u nt ar y-r e c all-s o cl e a n- e q ui p m e nt-i nt e n d e d- us e- c p a p- d e vi c es-
a n d- a c c ess ori es-f d a-s af et y (l ast visit e d A u g. 1 3, 2 0 2 4). F urt h er, S o Cl e a n’s p e n di n g d e n o v o
a p pli c ati o n f or t h e S o Cl e a n 3 +, if a p pr o v e d, w o ul d all o w S o Cl e a n t o m ar k et a n d s ell it s d e vi c e
o nl y f or c ert ai n P A P a c c ess ori es , n ot f or t h e P A P u nits t h e ms el v es.

                                                                      - 1 5-
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                      S o Cl e a n pr o d u cts g e n er at e a n d p u m p o z o n e t hr o u g h t h e s u p pl y t u b e a n d
                      i nt o t h e h u mi difi er r es er v oir, cl e a ni n g n ot o nl y t h e w at er, b ut als o t h e i n n er
                      w all s of t h e r es er v oir. T h e o z o n e t h e n m o v es t hr o u g h t h e C P A P h os e,
                      eli mi n ati n g p ot e nti all y h ar mf ul p at h o g e ns i n t h e pr o c ess. O z o n e als o p ass es
                      i n a n d o ut of t h e m as k, cl e a ni n g it i n t h e s a m e m a n n er as t h e h os e a n d
                      r es er v oir. W h e n t h e s h ort cl e a ni n g c y cl e is o v er, t h e o z o n e g as e xits t h e
                      c h a m b er t hr o u g h a s p e ci al filt er t h at c o n v erts it b a c k i nt o c o m m o n
                      o x y g e n. 2 9

           4 5.       S o Cl e a n a d vis es P A P us ers t h at cl e a ni n g wit h o z o n e f or a “ d ur ati o n of 1 2 mi n ut es

is r e q uir e d t o a c hi e v e t h e       m ost eff e cti v e     m ai nt e n a n c e. ” 3 0   I n its   Us er     M a n u al, S o Cl e a n

r e c o m m e n ds l o n g er cl e a ni n g ti m es t h a n us u al f or P A P us ers i n h ot, h u mi d e n vir o n m e nts,

i nstr u cti n g t h e m: “If y o u ar e i n a cli m at e wit h hi g h h u mi dit y a n d t e m p er at ur e, a l o n g er disi nf e cti n g

c y cl e mi g ht b e n e c ess ar y. ” 3 1   A c c or di n gl y, S o Cl e a n us ers i n h ot, h u mi d e n vir o n m e nts e x p os e t h eir

P A P d e vi c es t o e v e n hi g h er l e v els of o z o n e if f oll o wi n g S o Cl e a n’s i nstr u cti o ns f or us e.

           4 6.       T h e S o Cl e a n cl e a ni n g pr o c ess p ur p orts t o b e a “ cl os e d l o o p. ” T h e o z o n e g as is f e d

i nt o a P A P t hr o u g h a s u p pl y t u b e, is s u p p os e d t o fill a n d cl e a n t h e h u mi difi er r es er v oir (if a

h u mi difi er is us e d), t h e n e nt er t h e P A P, a n d t h e n e xit t h e P A P t hr o u g h t h e P A P’s h os e a n d m as k

b a c k i nt o t h e S o Cl e a n g e n er at or, w h er e — S o Cl e a n cl ai ms —it is c o n v ert e d i nt o c o m m o n o x y g e n.

           4 7.       B ut o n e of t h e “ dirt y s e cr ets ” of t h e S o Cl e a n D e vi c e is t h at its l o o p is n ot a ct u all y

cl os e d. O z o n e g as cr e at e d b y t h e S o Cl e a n D e vi c e c a n a n d d o es, i n f a ct, l e a k i nt o t h e s urr o u n di n g

e n vir o n m e nt. B y d esi g n, P A P d e vi c es i n cl u d e a n o p e n p at h w a y b et w e e n its air i nt a k e ( w h er e t h e

air e nt ers t h e P A P t o b e pr ess uri z e d b ef or e b ei n g g e ntl y p us h e d t o t h e us er) a n d its air o utl et ( w h er e



29
            S e c o n d A m e n d e d C o m pl ai nt ¶ 5 8, I n r e: S o Cl e a n, I n c., M kt g., S al es Pr a cs. & Pr o ds. Li a b.
Liti g. , 2 2- M C- 0 0 1 5 2-J F C ( W. D. P a. fil e d O ct. 1 0, 2 0 2 2), E C F N o. 2 1 1.
30
             S o Cl e a n 2         Us er       M a n u al, a c c essi bl e at htt ps:// c d n. ziftrs h o p. c o m/ k c p w e z g 7 nt/
A 0 0 0 3 3 0 _ 1 1 _ R e v _ C _ S C 1 2 0 0 _ M a n u al _ C A _ 0 8 1 1 2 1 _ E N G _ F R. p df (l ast visit e d A u g. 1 3, 2 0 2 4).
31
            S o Cl e a n 2 Us er M a n u al, a c c essi bl e at htt ps://s h o p. a er ofl o wsl e e p. c o m/ a mfil e/fil e/
d o w nl o a d/fil e/ 2 3 1/ pr o d u ct/ 2 2 3 2/ (l ast visit e d A u g. 1 3, 2 0 2 4).
                                                                    - 1 6-
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t h e P A P f a c e m as k a n d S o Cl e a n D e vi c e c o n n e ct t o t h e P A P).           O z o n e t h at e nt ers t h e P A P’s air

o utl et tr a v els t hr o u g h t h e o p e n p at h w a y a n d c a n es c a p e t hr o u g h t h e air-i nt a k e o p e ni n g, t h er e b y

es c a pi n g t h e “l o o p. ”

           4 8.        O z o n e l e a ks als o c a n o c c ur els e w h er e, i n cl u di n g t hr o u g h t u bi n g c o n n e cti o ns a n d

filt ers, all o wi n g o z o n e t o r e a c h l e v els c a p a bl e of h ar mi n g t h e P A P us er. F D A h as n ot e d t h at o z o n e

l e a ks c a n “ o c c ur at t u bi n g c o n n e cti o ns, filt ers or t hr o u g h c o nt ai n ers u s e d t o h o us e C P A P

a c c ess ori es. ” A c c or di n gl y, F D A c a uti o ns us ers t h at “ o z o n e g as i n t h e r o o m w h er e t h e d e vi c es ar e

us e d m a y t e m p or aril y ris e t o u ns af e l e v els es p e ci all y if t h e r o o m is s m all or n ot w ell v e ntil at e d. ” 3 2

           4 9.        I n a d diti o n t o l e a ks, us e of S o Cl e a n D e vi c es e x p os es P A P us ers t o r esi d u al o z o n e

t h at r e m ai ns i n t h e P A P t a n k, h os e, a n d m as k aft er c o m pl eti o n of a cl e a ni n g c y cl e. T h e P A P us er

m a y u n k n o wi n gl y i n h al e t his r esi d u al o z o n e aft er cl e a ni n g t h eir P A P d e vi c e.

           5 0.        W ors e still, i n or d er f or t h e S o Cl e a n D e vi c e t o e v e n att e m pt t o disi nf e ct a P A P

d e vi c e, it n e e ds t o g e n er at e o z o n e i n l e v els f ar i n e x c ess of f e d er al li mit s. D u e t o t h e h e alt h ris ks

p os e d b y o z o n e, m e di c al d e vi c es t h at g e n er at e o z o n e m ust est a blis h c o m pli a n c e wit h F D A

r e g ul ati o ns s etti n g m a xi m u m a c c e pt a bl e l e v els of o z o n e. 3 3       T h e l a w r e q uir es o z o n e o ut p ut of

i n d o or m e di c al d e vi c es t o b e n o m or e t h a n 0. 0 5 p art p er milli o n ( p p m) b y v ol u m e of air. 3 4




32
             F D A, F D A R e mi n ds P ati e nts t h at D e vi c es Cl ai mi n g T o Cl e a n, Disi nf e ct or S a nitiz e C P A P
M a c hi n es Usi n g Oz o n e G as or U V Li g ht H a v e N ot B e e n F D A A ut h oriz e d ( F e b. 2 7, 2 0 2 0),
w w w.f d a. g o v/ n e ws- e v e nts/ pr ess- a n n o u n c e m e nts/f d a-r e mi n ds- p ati e nts- d e vi c es- cl ai mi n g- cl e a n-
disi nf e ct- or-s a niti z e- c p a p- m a c hi n es- usi n g- o z o n e- g as- or (l ast visit e d A u g. 1 3, 2 0 2 4).
33
           S e e F D A’s M a xi m u m A c c e pt a bl e L e v el of O z o n e R ul e, 2 1 C. F. R. § 8 0 1. 4 1 5 ( 2 0 1 9), w hi c h
t o o k eff e ct i n 1 9 7 4; F D A Fi n al R ul e m a ki n g: O z o n e G e n er at ors a n d Ot h er D e vi c es G e n er ati n g
O z o n e, 3 9 F e d. R e g. 1 3 7 7 3- 7 4 ( A pr. 1 7, 1 9 7 4).
34
            2 1 C. F. R. § 8 0 1. 4 1 5( c).

                                                                     - 1 7-
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           5 1.       I n 2 0 2 0, i n c o n n e cti o n wit h F D A’s p ost- m ar k et s af et y c o n c er ns, F D A c o n d u ct e d

l a b t esti n g of o z o n e- b as e d cl e a ni n g d e vi c es, of w hi c h S o Cl e a n i s t h e s elf- d es cri b e d “ d o mi n a nt ”

m ar k et s u p pli er. As r e p ort e d b y F D A, t h e “t esti n g d e m o nstr at e d o z o n e- usi n g disi nf e cti o n d e vi c es

g e n er at e d a m bi e nt l e v els of o z o n e a b o v e li mits c o nsi d er e d s af e f or h u m a n e x p os ur e. ” 3 5 T h e F D A

t esti n g als o e vi d e n c e d t h at o z o n e l e v els r e m ai n e d el e v at e d i n P A P d e vi c es w ell aft er a cl e a ni n g

c y cl e. T est r es ults s h o w t h at “ o z o n e l e v els i nsi d e of t h e C P A P e q ui p m e nt c a n b e a b o v e s af e li mit s

e v e n s e v er al h o urs aft er cl e a ni n g is c o m pl et e d. ” 3 6

           5 2.       F D A is n ot al o n e i n its fi n di n gs t h at S o Cl e a n D e vi c es e x c e e d r e g ul at or y li mits o n

o z o n e g e n er ati o n a n d r el e as e. E arli er l a b t ests, c o n d u ct e d b y R es e ar c h Tri a n gl e L a b or at ori es, w er e

fil e d i n f e d er al c o urt i n a s e p ar at e liti g ati o n a g ai nst S o Cl e a n.       T h e 2 0 1 9 t ests, r e q u est e d b y a

m a n uf a ct ur er of U V- b as e d P A P cl e a n ers ( as o p p os e d t o o z o n e- b as e d), al s o s h o w t h at S o Cl e a n

D e vi c es g e n er at e a n d r el e as e o z o n e s u bst a nti all y i n e x c ess of f e d er al li mits. 3 7    U p o n t h e S o Cl e a n

D e vi c e’s a ut o m ati c s h ut off at t h e e n d of t h e r e c o m m e n d e d cl e a ni n g c y cl e, o z o n e wit hi n t h e T efl o n

t est c h a m b er m e as ur e d 2 8 p p m, or 5 6 0 ti m es t h e r e g ul at or y li mit. A n ot h er s a m pl e w as c oll e ct e d

f oll o wi n g t h e r e c o m m e n d e d t w o- h o ur w aiti n g p eri o d, a n d t h e o z o n e l e v el m e as ur e d 3. 0 p p m  still

6 0 ti m es gr e at er t h a n t h e l e v els d e e m e d s af e b y F D A. 3 8


35
             F D A, F D A R e mi n ds P ati e nts t h at D e vi c es Cl ai mi n g T o Cl e a n, Disi nf e ct or S a nitiz e C P A P
M a c hi n es Usi n g Oz o n e G as or U V Li g ht H a v e N ot B e e n F D A A ut h oriz e d ( F e b. 2 7, 2 0 2 0),
w w w.f d a. g o v/ n e ws- e v e nts/ pr ess- a n n o u n c e m e nts/f d a-r e mi n ds- p ati e nts- d e vi c es- cl ai mi n g- cl e a n-
disi nf e ct- or-s a niti z e- c p a p- m a c hi n es- usi n g- o z o n e- g as- or (l ast visit e d A u g. 1 3, 2 0 2 4).
36
            F D A, C P A P M a c hi n e Cl e a ni n g: Oz o n e, U V Li g ht Pr o d u cts Ar e N ot F D A A p pr o v e d ,
w w w.f d a. g o v/ c o ns u m ers/ c o ns u m er- u p d at es/ c p a p- m a c hi n e- cl e a ni n g- o z o n e- u v-li g ht- pr o d u cts-
ar e- n ot-f d a- a p pr o v e d (l ast visit e d A u g. 1 3, 2 0 2 4).
37
          S e e C o m pl ai nt, E x. E, 3 B M e di c al, I n c. v. S o Cl e a n, I n c. , C as e N o. 1: 1 9- c v- 0 3 5 4 5- K P F
( S. D. N. Y. fil e d A pr. 2 2, 2 0 1 9).
38
           I d.

                                                                     - 1 8-
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           5 3.       L at er t esti n g b y R es e ar c h Tri a n gl e L a b or at ori es i n 2 0 2 1 f o u n d t h at t h e S o Cl e a n 2,

w h e n us e d as dir e ct e d, c a us e d o z o n e t o b e r el e as e d i nt o t h e a m bi e nt e n vir o n m e nt t hr o u g h t h e

C P A P at l e v els of 1. 5 p p m: 3 0 t o 4 0 ti m es t h e r e g ul at or y li mit.3 9

           5 4.       I n li n e wit h its t est r es ult s, t o d at e, F D A h as n ot a p pr o v e d or cl e ar e d f or s al e a n y

o z o n e- b as e d P A P cl e a ni n g d e vi c e, i n cl u di n g t h os e m a n uf a ct ur e d b y S o Cl e a n.        W hil e F D A i s

c o nsi d eri n g a d e n o v o a p pli c ati o n f or t h e S o Cl e a n 3 +, t h e S o Cl e a n 3 + i s d esi g n e d f or us e wit h

c ert ai n P A P a c c ess ori es e x cl usi v el y , n ot P A P u nits t h e ms el v es.

           5 5.       I n N o v e m b er 2 0 2 3, S o Cl e a n a n n o u n c e d a n “ U R G E N T ” “ M e di c al D e vi c e ” fi el d

c orr e cti o n r el ati n g t o its S o Cl e a n 2 a n d S o Cl e a n 3 pr o d u ct m o d els. As p art of t h e fi el d c orr e cti o n,

S o Cl e a n i nf or m e d us ers it w as r e visi n g its l a b eli n g a n d i nstr u cti o ns t o i n cl u d e:

                      A d diti o n al cl arit y a n d c o nsi st e n c y r e g ar di n g t h at t h e S o Cl e a n 2 a n d
                      S o Cl e a n 3 ar e n ot i nt e n d e d t o r e pl a c e C P A P m a n uf a ct ur ers’ cl e a ni n g
                      i nstr u cti o ns b ut r at h er ar e t o b e us e d t o s u p pl e m e nt cl e a ni n g pr o c e d ur es f or
                      h o m e us e C P A P m as ks a n d t u bi n g .

                      Wit h e a c h S o Cl e a n filt er p ur c h as e, S o Cl e a n is s u p pl yi n g a c o m pl e m e nt ar y
                      ( n o a d diti o n al c ost) H os e a n d M as k A d a pt er, w hi c h f a cilit at es us e of t h e
                      S o Cl e a n 2 a n d S o Cl e a n 3 e q ui p m e nt wit h o ut oz o n e e nt eri n g t h e C P A P .4 0

           5 6.       As a d mitt e d b y S o Cl e a n, t h e fi el d c orr e cti o n w as ai m e d at “r e d u ci n g p ot e nti al ris ks

ass o ci at e d wit h t h e pr e vi o us d e vi c e d esi g n a n d l a b eli n g. ” 4 1   M a n u als f or t h e S o Cl e a n D e vi c es n o w

r efl e ct t h at t h e y ar e t o b e us e d e x cl usi v el y wit h P A P a c c ess ori es ( e. g. , h os es a n d m as ks), r at h er

t h a n P A Ps t h e ms el v es.4 2


39
           S e e E C F N o. 1 4 1, ¶ ¶ 2 3 1- 2 3 7.
40
           S o Cl e a n, U R G E N T M e di c al Fi el d C orr e cti o n , w w w.s o cl e a n. c o m/fi el d- c orr e cti o n (l ast
visit e d A u g. 1 3, 2 0 2 4) ( e m p h asis a d d e d).
41
           I d.
42
          C o m p ar e S o Cl e a n, S o Cl e a n 2 Us er M a n u al ( 2 0 2 3), a c c essi bl e at htt ps:// c d n.
ziftrs h o p. c o m/si d ns 4 m u vl/ S C 2-I F U- C 0 0 0 2 1 9- 1 1- R e v- D- S C 2-I F U- 1 1 1 4 2 3- E C O- 2. p df, wit h

                                                                      - 1 9-
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           5 7.       T elli n gl y, d es pit e l o n g k n o wi n g t h e p ot e nti al h ar m its pr o d u cts p os e d, S o Cl e a n

o nl y dis cl os e d t h es e ris ks aft er b ei n g dir e ct e d t o d o s o b y F D A.

           5 8.       S h ortl y t h er e aft er, F D A i ss u e d it s o w n S af et y C o m m u ni c ati o n r e g ar di n g S o Cl e a n

D e vi c es, i n cl u di n g a d diti o n al i nf or m ati o n n ot pr o vi d e d i n S o Cl e a n’s fi el d c orr e cti o n n oti c e. F D A

t o o k t h e o p p ort u nit y t o r e mi n d P A P us ers t h at S o Cl e a n D e vi c es w er e n ot i n c o m pli a n c e wit h F D A

r e g ul ati o ns. It st at e d: “ T h e F D A c o nti n u es t o w or k wit h S o Cl e a n t o bri n g t h e fir m i nt o c o m pli a n c e

wit h F D A r e q uir e m e nts. ” 4 3      F D A als o r eit er at e d ri s ks ass o ci at e d wit h o z o n e. S p e cifi c all y, F D A

e x pl ai n e d t h at “f or o z o n e t o b e eff e cti v e i n d estr o yi n g h ar mf ul b a ct eri a [ as m ar k et e d b y S o Cl e a n],

it m ust b e pr es e nt at a c o n c e ntr ati o n a b o v e l e v els c o nsi d er e d s af e f or h u m a ns. ” 4 4

           5 9.       F or all t h e ti m e b ef or e S o Cl e a n’s N o v e m b er 2 0 2 3 fi el d c orr e cti o n, S o Cl e a n

all o w e d its o z o n e t o r e a c h t h e i nt eri ors of D e vi c e Us ers’ P A Ps, as w ell as t h e air t h e y br e at h e d.

S o Cl e a n m ar k et e d a n d s ol d pr o d u cts wit h t h e p ot e nti al t o h ar m t h e v er y d e vi c es t h e y w o ul d

s u p p os e dl y cl e a n, as w ell as t h e h u m a n us ers of t h os e d e vi c es, wit h o ut a n y w ar ni n gs of t h es e

f or es e e a bl e ris ks.

III.       S o Cl e a n S ol d — a n d C o nti n u es t o S ell —Ill e g al S o Cl e a n D e vi c es f o r Us e wit h P A Ps

           6 0.       D es pit e all t h e h ar ms ass o ci at e d wit h o z o n e cl e a ni n g a n d a l a c k of F D A a p pr o v al

or cl e ar a n c e, S o Cl e a n h as p ersist e d i n s elli n g t h e S o Cl e a n D e vi c es t o t h e p u bli c.        A c c or di n g t o




S o Cl e a n, S o Cl e a n 2 Us er M a n u al ( 2 0 1 9), a c c essi bl e at htt ps:// w w w. dir e ct h o m e m e di c al. c o m/
a c c ess ori es/s o cl e a n- 2- c p a p- cl e a n er-s a niti z er- m a n u al. p df ( “ T h e S o Cl e a n 2 att a c h es t o e q ui p m e nt
a n d r u ns d ail y . . . . ”).
43
            F D A, V ol u nt ar y R e c all of S o Cl e a n E q ui p m e nt I nt e n d e d f or Us e wit h C P A P D e vi c es a n d
A c c ess ori es: F D A S af et y C o m m u ni c ati o n ( N o v. 2 1, 2 0 2 3), w w w.f d a. g o v/ m e di c al- d e vi c es/s af et y-
c o m m u ni c ati o ns/ v ol u nt ar y-r e c all-s o cl e a n- e q ui p m e nt-i nt e n d e d- us e- c p a p- d e vi c es- a n d-
a c c ess ori es-f d a-s af et y (l ast visit e d A u g. 1 3, 2 0 2 4).
44
           I d.

                                                                     - 2 0-
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S o Cl e a n, “ S o Cl e a n i s t h e d o mi n a nt m ar k et l e a d er f or o z o n e cl e a n ers, a c c o u nti n g f or t h e v ast

m aj orit y of s al es. ” 4 5 S o Cl e a n h as m ar k et e d its d e vi c es as a p pr o pri at e f or us e wit h all m aj or br a n ds

of P A P d e vi c es, e x pr essl y i n cl u di n g t h e R e c all e d D e vi c es m a n uf a ct ur e d b y P hili ps R S.

           6 1.       S o Cl e a n h as als o m a n uf a ct ur e d a n d s ol d t o c o ns u m ers a d a pt ers t h at it s p e cifi c all y

d esi g n e d t o m a k e its o z o n e m a c hi n es p ur p ort e dl y “ c o m p ati bl e ” wit h P A P d e vi c es, i n cl u di n g P A P

d e vi c es m a n uf a ct ur e d b y P hili ps R S. S o Cl e a n, f or e x a m pl e, cr e at e d a n d p ost e d o n it s w e bsit e a

c o m p ati bilit y c h art t h at i n cl u d e d P hili ps tr a d e m ar ks a n d i d e ntifi e d m ulti pl e P hili ps R es pir o ni cs

P A Ps, i n cl u di n g R e c all e d D e vi c es, as “ c o m p ati bl e wit h fr e e a d a pt er! ” wit h S o Cl e a n D e vi c es. 4 6

           6 2.       S o Cl e a n c o nti n u e d t o m ar k et it s o z o n e- b as e d d e vi c es as s af e a n d eff e cti v e f or us e

wit h P A P d e vi c es e v e n aft er r e p e at e d w ar ni n gs fr o m F D A, o v er t h e c o urs e of s e v er al y e ars, t h at

s u c h cl ai ms w er e u ns u bst a nti at e d a n d ill e g al.

           6 3.       F D A e v e nt u all y t o o k its w ar ni n gs p u bli c. I n F e br u ar y 2 0 2 0, F D A iss u e d a S af et y

C o m m u ni c ati o n i nf or mi n g p ati e nts a n d h e alt h c ar e pr o vi d ers t h at d e vi c es cl ai mi n g t o cl e a n,

s a niti z e, or disi nf e ct P A P d e vi c es or a c c ess ori es usi n g o z o n e “ ar e n ot l e g all y m ar k et e d f or t his us e

b y F D A i n t h e U. S., a n d as s u c h, t h eir s af et y a n d eff e cti v e n ess f or us e wit h C P A P d e vi c es a n d

a c c ess ori es is u n k n o w n. ” 4 7   U n d et err e d, S o Cl e a n p ersist e d i n s elli n g it s d e vi c es.




45
           S e c o n d A m e n d e d C o m pl ai nt ¶ 2 4 5, I n r e: S o Cl e a n, I n c., M kt g., S al es Pr a cs. & Pr o ds.
Li a b. Liti g. , 2 2- M C- 0 0 1 5 2-J F C ( W. D. P a. fil e d O ct. 1 0, 2 0 2 2), E C F N o. 2 1 1.
46
            I nt er n et Ar c hi v e W a y b a c k M a c hi n e, C P A P M a c hi n e & S o Cl e a n C o m p ati bilit y C h art |
S o Cl e a n C P A P Cl e a ni n g S ol uti o ns , htt ps:// w e b. ar c hi v e. or g/ w e b/ 2 0 1 9 0 6 2 1 2 1 0 7 4 4/ htt ps://
w w w.s o cl e a n. c o m/s u p p ort/s o cl e a n-s u p p ort/s o cl e a n- c o m p ati bilit y/ (l ast visit e d A u g. 1 3, 2 0 2 4,
ar c hi v e d J u n e 2 1, 2 0 1 9).
47
             F D A, F D A R e mi n ds P ati e nts t h at D e vi c es Cl ai mi n g T o Cl e a n, Disi nf e ct or S a nitiz e C P A P
M a c hi n es Usi n g Oz o n e G as or U V Li g ht H a v e N ot B e e n F D A A ut h oriz e d ( F e b. 2 7, 2 0 2 0),
w w w.f d a. g o v/ n e ws- e v e nts/ pr ess- a n n o u n c e m e nts/f d a-r e mi n ds- p ati e nts- d e vi c es- cl ai mi n g- cl e a n-
disi nf e ct- or-s a niti z e- c p a p- m a c hi n es- usi n g- o z o n e- g as- or (l ast visit e d A u g. 1 3, 2 0 2 4).
                                                                    - 2 1-
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           6 4.       E v e n aft er F D A d e m a n d e d t h at S o Cl e a n r e m o v e fr o m its w e bsit e a n d ot h er

pr o m oti o n al c h a n n els a n y st at e m e nt t h at it s pr o d u cts w er e i nt e n d e d f or us e wit h P A Ps, S o Cl e a n

e ns ur e d t h at U. S. c o ns u m ers c a n still s e e S o Cl e a n’s ass erti o ns t h at it s pr o d u cts ar e m e a nt t o b e

us e d wit h P hili ps R S’s P A Ps. A n o nli n e s e ar c h f or “ S o Cl e a n ” c urr e ntl y yi el ds r es ult s c o nt ai ni n g

“ c o m p ati bilit y ” cl ai ms e x pr essl y pr o hi bit e d b y F D A.              F or e x a m pl e, p orti o ns of t h e c urr e nt

S o Cl e a n. c o m w e bsit e still pr o vi d e t h e a b o v e-r ef er e n c e d c o m p ati bilit y c h art a n d c o m p ati bilit y t o ol

c h ar a ct eri zi n g S o Cl e a n as c o m p ati bl e f or us e wit h P hili ps R es pir o ni cs P A Ps, i n cl u di n g its

Dr e a m St ati o n m o d els.       S o Cl e a n’s sit e as ks:       “Is y o ur S o Cl e a n C o m p ati bl e ? ”        T h e sit e t h e n

pr o vi d es o nl y t w o c h oi c es wit h r es p e ct t o e a c h pi ct ur e d “ P hili ps R es pir o ni cs ” m o d el li st e d:

“ C o m p ati bl e! ” or “ C o m p ati bl e wit h fr e e a d a pt er! ” 4 8

           6 5.       Si mil arl y, t o t his d a y, D W H P i d e ntifi es a n d d es cri b es S o Cl e a n o n it s w e bsit e’s “ o ur

c o m p a ni es ” p a g e as cr e at or of t h e “ w orl d’s first a ut o m at e d C P A P cl e a n er a n d s a niti z er. ” 4 9

           6 6.       S o Cl e a n d esi g n e d d ef e cti v e pr o d u cts a n d, e v e n aft er k n o wi n g t h e h ar m t h os e

pr o d u cts p os e d t o t h eir p ur c h as ers, S o Cl e a n f ail e d t o w ar n P A P us ers a b o ut t h e p ot e nti al ris ks of

e x p os ur e t o o z o n e. S o Cl e a n’s n e gli g e nt a n d i nt e nti o n all y mi sl e a di n g c o n d u ct h as c o ntri b ut e d t o

t h e h ar ms all e g e d a n d f or w hi c h t h e P hili ps D ef e n d a nts (i) ar e b e ari n g fi n a n ci al r es p o nsi bilit y

t hr o u g h t h e S ettl e m e nt F u n d a n d (ii) m a y c o nti n u e t o b e ar fi n a n ci al r es p o nsi bilit y i n t h e f ut ur e

t hr o u g h a n y c o nti n u e d D e vi c e Us er liti g ati o n, m a ki n g t h e T hir d- P art y D ef e n d a nts li a bl e i n

c o ntri b uti o n a n d i n d e m nit y f or t h eir r el ati v e c ul p a bilit y.


48
            S o Cl e a n, C P A P M a c hi n e & S o Cl e a n C o m p ati bilit y C h art | S o Cl e a n C P A P Cl e a ni n g
S ol uti o ns , w w w.s o cl e a n. c o m/ u k/s u p p ort/s o cl e a n-s u p p ort/s o cl e a n- c o m p ati bilit y (l ast visit e d A u g.
1 3, 2 0 2 4).
49
              D W H e alt h c ar e P art n ers, O ur C o m p a ni es , w w w. d w h p. c o m/ c o m p a ni es/ # cl os e (l ast visit e d
A u g. 1 3, 2 0 2 4) ( “ S o Cl e a n I n c. i s t h e cr e at or of t h e w orl d’s first a ut o m at e d C P A P cl e a n er a n d
s a niti z er, a n i n n o v ati v e d e vi c e t h at n at ur all y s a niti z es C P A P e q ui p m e nt. ”).
                                                                      - 2 2-
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I V.        S o Cl e a n D e vi c es Als o D e g r a d e t h e F o a m Us e d i n P hili ps R es pi r o ni cs P A Ps

           6 7.        I n d e p e n d e nt of t h e e x p os ur e of D e vi c e Us ers t o a t o xi c g as, us e of S o Cl e a n D e vi c es

b y P hili ps R es pir o ni cs P A P D e vi c e Us ers a c c el er at es a n d e x a c er b at es t h e d e gr a d ati o n of t h e P E-

P U R f o a m us e d i n t h eir P hili ps R es pir o ni cs P A Ps, as s u bst a nti al t esti n g r es ult s a n d ot h er e vi d e n c e

d e m o nstr at es.

           6 8.        O ne       m e c h a nis m of P E- P U R f o a m d e gr a d ati o n is h y dr ol ysis, t h e c h e mi c al

br e a k d o w n of f o a m d u e t o e x p os ur e t o m oist ur e a n d a c c el er at e d f urt h er at hi g h t e m p er at ur es.

H y dr ol ysis r es ults i n cl e a v a g e of t h e P E- P U R p ol y m er c h ai n a n d a br e a k d o w n of t h e f o a m’s

m e c h a ni c al pr o p erti es. U n d er n or m al us e c o n diti o ns, h y dr ol ysis is a n e xtr e m el y sl o w pr o c ess t h at

r ar el y o c c urs wit hi n t h e st a n d ar d s er vi c e lif e of a P A P d e vi c e. T h e eff e ct s of h y dr ol ysis o n P E-

P U R f o a m, h o w e v er, c a n b e e x a c er b at e d w h e n ot h er str ess ors ar e i ntr o d u c e d, s u c h as e x p os ur e t o

o z o n e cl e a ni n g.      B e c a us e o z o n e is s u c h a str o n g o xi di z er, its i ntr o d u cti o n t o t h e f o a m dir e ctl y

br e a ks c ert ai n c h e mi c al b o n ds pr es e nt i n t h e f o a m, r es ulti n g i n a d diti o n al p ol y m er c h ai n cl e a v a g e

p at h w a ys, w hi c h all o ws f or t h e r a pi d a c c el er ati o n of t h e h y dr ol ysis pr o c ess.          As a r es ult, o z o n e

c a us es, or at t h e v er y l e ast a c c el er at es, d e gr a d ati o n t hr o u g h h y dr ol ysis.

           6 9.        I n a d diti o n, o z o n e als o dir e ctl y c a us es f o a m d e gr a d ati o n t hr o u g h a pr o c ess c all e d

o xi d ati o n, t h e s a m e pr o c ess S o Cl e a n cl ai m s t o us e w h e n cl e a ni n g P A Ps. O xi d ati o n br e a ks c ar b o n

b o n ds f o u n d i n p ol y m ers, s u c h as P E- P U R, l e a di n g t h os e p ol y m ers t o d e gr a d e. 5 0 P ol y ur et h a n e i n




50
             Ri c h m o n d L e e & Mi c h ell e L. C o ot e, M e c h a nisti c I nsi g hts i nt o Oz o n e-I niti at e d O xi d ati v e
D e gr a d ati o n of S at ur at e d H y dr o c ar b o ns a n d P ol y m ers , PH Y SI C A L C H E MI S T R Y C H E M . P H Y SI C S
2 4 6 6 3 ( 2 0 1 6).

                                                                      - 2 3-
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p arti c ul ar is s u bj e ct t o “ o z o n ol yti c d e gr a d ati o n ” fr o m o z o n e e x p os ur e, p arti c ul arl y at hi g h er l e v els

of o z o n e e x p os ur e s u c h as t h os e us e d f or st erili z ati o n. 5 1

             7 0.     O z o n e e x p os ur e as a c a us e, a c c el er at or a n d/ or e x a c er b at or of f o a m d e gr a d ati o n h as

b e e n c orr o b or at e d b y S o Cl e a n’s i nt er n al d o c u m e nts, s e v er al t ests c o n d u ct e d b y i n d e p e n d e nt t hir d-

p art y l a b or at ori es, a n d vi s u al i ns p e cti o ns of R e c all e d D e vi c es r et ur n e d fr o m t h e fi el d.

             7 1.     S o Cl e a n h as l o n g k n o w n b ut k e pt s e cr et t h at its o z o n e- b as e d d e vi c es d a m a g e t h e

f o a m us e d i nsi d e P A P d e vi c es. F or y e ars, S o Cl e a n w as a w ar e of b ut k e pt s e cr et t h e p ot e nti al f or

h ar m, a n d a ct u al h ar m, c a us e d b y o z o n e w h e n us e d wit h v ari o us m at eri als, i n cl u di n g f o a m a n d

ot h er m at eri als f o u n d i n P A P d e vi c es. S o Cl e a n d eli b er at el y c o n c e al e d t his i nf or m ati o n.

             7 2.     I n A pril 2 0 2 0, S o Cl e a n’s Dir e ct or of E n gi n e eri n g cir c ul at e d a r e p ort dis c ussi n g

p ot e nti al m ess a gi n g ar o u n d o z o n e’s h ar mf ul i m p a ct o n v ari o us m at eri als.               T h e d o c u m e nt w as

b as e d o n i nt er n al t esti n g of a d e vi c e us e d t o disi nf e ct it e ms li k e c ell p h o n es a n d k e ys. S o Cl e a n

c o nfir m e d i n t h e r e p ort t h at o z o n e c o ul d d e gr a d e f o a m.

             7 3.     O n M ar c h 1 0, 2 0 2 2, s p e cifi c all y wit h r es p e ct t o t h e P hili ps R S R e c all e d D e vi c es,

t h e F D A iss u e d a p u bli c n otifi c ati o n t h at “ us e of o z o n e cl e a n ers t o disi nf e ct or s a niti z e t h e R e c all e d

Pr o d u cts m a y e x a c er b at e t h e br e a k d o w n of t h e f o a m. ” 5 2     T h e F D A e v e n i nstr u ct e d P hili ps R S t o

i n cr e as e its w ar ni n gs wit h r es p e ct t o o z o n e b y “[ m] ai nt ai n[i n g] pr o mi n e ntl y dis pl a y e d i nf or m ati o n

o n t h e ris k of usi n g o z o n e cl e a n ers o n t h e R e c all e d Pr o d u cts o n t h e P hili ps R e c all m ai n l a n di n g

p a g e. ” 5 3


51
             F e n g w ei Xi e et al., D e gr a d ati o n a n d St a biliz ati o n of P ol y ur et h a n e El ast o m ers , 9 0
P R O G R E S S I N P O L Y M E R S CI . 2 1 1 ( 2 0 1 9); C h arl es S. S c h oll e n b er g er & K. Di n b er gs, A St u d y of t h e
W e at h eri n g of a n El ast o m eri c P ol y ur et h a n e , 1 PO L Y M E R E N G ’ G & S CI . 3 1 ( 1 9 6 1).
52
           F D A,       5 1 8(A ) N O TI FI C A TI O N           O R DER        ( M ar c h     1 0,     2 0 2 2),           a c c essi bl e      at
htt ps:// w w w.f d a. g o v/ m e di a/ 1 5 6 8 1 1/ d o w nl o a d (l ast visit e d A u g. 1 3, 2 0 2 4).
53
             I d.
                                                                      - 2 4-
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           7 4.       P hili ps R S h as als o r et ai n e d m ulti pl e i n d e p e n d e nt, c ertifi e d l a b or at ori es t o c o n d u ct

v ari o us t ests of its d e vi c es, i n cl u di n g ass ess m e nts of w h et h er t h e us e of a n o z o n e- b as e d cl e a ni n g

d e vi c e a c c el er at es or e x a c er b at es f o a m d e gr a d ati o n wit hi n t h e R e c all e d D e vi c es. F or e x a m pl e, i n

e arl y 2 0 2 1, t hir d- p art y c o ns ult a nt S c otts d al e S ci e ntifi c, L L C p erf or m e d a n a n al ysis of a c c el er at e d

t esti n g i n or d er t o st u d y t h e i m p a ct of o z o n e- b as e d cl e a ni n g d e vi c es o n t h e d et eri or ati o n of t h e

f o a m (t h e “ H a w ki ns P h as e I St u d y ”). F or t his st u d y, s a m pl es of P E- P U R f o a m w er e e x p os e d t o a

s et of hi g h t e m p er at ur es a n d h u mi dit y l e v els f or v ar yi n g l e n gt hs of ti m e. T h e i m p a ct of o z o n e w as

st u di e d b y s u bj e cti n g h alf of t h e s a m pl es als o t o o z o n e o n a s c h e d ul e m at c hi n g t y pi c al us e of a n

aft er m ar k et cl e a ni n g d e vi c e, s u c h as a S o Cl e a n d e vi c e, w hil e t h e ot h er s a m pl es ( “ n o- o z o n e ”) w er e

n ot e x p os e d t o o z o n e. T o m e as ur e t h e r at e of f o a m d e gr a d ati o n, t h e r at e at w hi c h t h e f o a m l ost its

t e nsil e str e n gt h w as us e d as a pr o x y (i. e., t h e d ur ati o n at w hi c h t h e f o a m’s t e nsil e str e n gt h w as

r e d u c e d t o h alf of its st arti n g v al u e, or t h e “ h alf-lif e ” f or s h ort).

           7 5.       Aft er c o m p ari n g t h e h alf-lif e f or t e nsil e str e n gt h of t h e o z o n e gr o u p a n d t h e n o-

o z o n e gr o u p, t h e H a w ki n s P h as e I St u d y c o n cl u d e d,



                       ( e m p h asis a d d e d).

           7 6.       Vis u al i ns p e cti o n of P A P d e vi c es r et ur n e d fr o m t h e fi el d pr o vi d es f urt h er e vi d e n c e

t h at t h e us e of o z o n e cl e a ni n g d e vi c es is a si g nifi c a nt c o ntri b ut or t o f o a m d e gr a d ati o n.             To

d et er mi n e t h e pr e v al e n c e of f o a m d e gr a d ati o n, P hili ps R S p erf or m e d a f or m al vis u al i ns p e cti o n,

c oll e cti n g i m a g es of t h e st at e of f o a m o n               r et ur n e d/ us e d Dr e a m St ati o n 1 d e vi c es fr o m t h e

U nit e d St at es a n d C a n a d a. T h e vis u al i ns p e cti o n d et er mi n e d w h et h er f o a m h a d d e gr a d e d or n ot,

wit h a n i n d e p e n d e nt s e c o n d ar y r e vi e w er v ali d ati n g t h os e ass ess m e nts. P hili ps R S t h e n c o n d u ct e d




                                                                     - 2 5-
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d at a a n al ys es of t w o gr o u ps of d e vi c es: d e vi c es f or w hi c h t h e us er r e p ort e d n o us e of o z o n e

cl e a ni n g, a n d d e vi c es f or w hi c h t h e us er r e p ort e d us e of o z o n e cl e a ni n g.

            7 7.      I n t h e U nit e d St at es a n d C a n a d a ( w h er e o z o n e- b as e d cl e a ni n g d e vi c es ar e m ost

pr e v al e nt), of t h e gr o u p of p ati e nts w h o r e p ort e d n o us e of o z o n e cl e a ni n g,                           of t h eir

r et ur n e d d e vi c es s h o w e d si g nifi c a nt vis u al f o a m d e gr a d ati o n/ v ol u m e r e d u cti o n.    B y c o ntr ast, of

t h e gr o u p of p ati e nts w h o r e p ort e d us e of o z o n e cl e a ni n g d e vi c es,               of t h eir r et ur n e d d e vi c es

s h o w e d si g nifi c a nt vis u al f o a m d e gr a d ati o n/ v ol u m e r e d u cti o n. T h er ef or e, d e vi c es f or w hi c h t h e

us er s elf-r e p ort e d o z o n e us e w er e                                                             t o h a v e si g nifi c a nt vis u al

f o a m d e gr a d ati o n/ v ol u m e r e d u cti o n t h a n t h os e w h er e t h e us er r e p ort e d n o o z o n e us e. I n a d diti o n,

o nl y a p pr o xi m at el y           and                of r et ur n e d d e vi c es fr o m E ur o p e a n d J a p a n, r es p e cti v el y —

r e gi o ns w h er e o z o n e cl e a ni n g is n ot          pr e v al e nt — h a d si g nifi c a nt vis u al d e gr a d ati o n/ v ol u m e

r e d u cti o n.




            7 8.      T h es e t ests a n d o bs er v ati o ns ar e als o c o nsist e nt wit h a d diti o n al l a b or at or y t esti n g

c o n d u ct e d f oll o wi n g t h e P hili ps R S r e c all.        In      M ar c h 2 0 2 3, t hir d- p art y c o ns ult a nt E ur ofi ns

M at eri als S ci e n c e N et h erl a n ds B. V. p erf or m e d t esti n g o n Dr e a m St ati o n 1 d e vi c es aft er c o ntr oll e d

o z o n e e x p os ur e (t h e “ E ur ofi ns St u d y ”). T h e l a bs e v al u at e d t h e vis u al st at e of t h e f o a m a n d t est e d

w h et h er c ert ai n c o m p o u n ds (i n p arti c ul ar, et h yl e n e gl y c ol a n d di et h yl e n e gl y c ol) w er e r el e as e d

fr o m t h e d e vi c es aft er u p t o 1, 3 0 0 S o Cl e a n o z o n e cl e a ni n g c y cl es ( e a c h c y cl e si m ul ati n g o n e ni g ht

of us e f oll o w e d b y S o Cl e a n o z o n e cl e a ni n g). As a c o m p aris o n, t h e E ur ofi ns st u d y us e d a c o ntr ol

gr o u p t h at w as n ot s u bj e ct e d t o a n y o z o n e cl e a ni n g.          B ot h gr o u ps w er e e x p os e d t o or di n ar y

e n vir o n m e nt al o x y g e n. T h e r e c or d e d c o m p o u n ds list e d a b o v e ar e k n o w n b y pr o d u cts of P E- P U R

                                                                     - 2 6-
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f o a m d e gr a d ati o n, s o i n t h e e v e nt S o Cl e a n D e vi c es d o n ot c a us e or e x a c er b at e d e gr a d ati o n, t h e

t esti n g w o ul d h a v e s h o w n n ot o nl y i nt a ct f o a m b ut als o si mil ar l e v els of t h os e c o m p o u n ds b et w e e n

t h e c o ntr ol gr o u p a n d t h e t est d e vi c es.

           7 9.                                                                                        T h e E ur ofi ns St u d y




                                                                                                                                           F or

i nst a n c e, aft er 1, 3 0 0 c y cl es, e missi o n of di et h yl e n e gl y c ol fr o m t h e c o ntr ol gr o u p




                                                              .

           8 0.       I n s h ort, t esti n g a n d a n al ysis r el at e d t o t h e i m p a ct of o z o n e o n f o a m d e gr a d ati o n

cl e arl y e vi d e n c e t h at t h e us e of S o Cl e a n’s o z o n e cl e a n ers c a us es, or at t h e v er y l e ast si g nifi c a ntl y

e x a c er b at es or a c c el er at e s, f o a m d e gr a d ati o n i n t h e R e c all e d D e vi c es.

           8 1.       S o Cl e a n d esi g n e d d ef e cti v e pr o d u cts a n d, e v e n aft er k n o wi n g t h e h ar m t h os e

pr o d u cts p os e d t o t h e v er y d e vi c es t h e y w er e i nt e n d e d t o “ cl e a n, ” S o Cl e a n f ail e d t o w ar n D e vi c e

Us ers. S o Cl e a n’s n e gli g e nt a n d i nt e nti o n all y misl e a di n g c o n d u ct h as c o ntri b ut e d t o t h e h ar ms

all e g e d a n d f or w hi c h t h e P hili ps D ef e n d a nts (i) ar e b e ari n g fi n a n ci al r es p o nsi bilit y t hr o u g h t h e

S ettl e m e nt F u n d a n d (ii) m a y c o nti n u e t o b e ar fi n a n ci al r es p o nsi bilit y i n t h e f ut ur e t hr o u g h a n y

c o nti n u e d D e vi c e Us er liti g ati o n, m a ki n g t h e T hir d- P art y D ef e n d a nts li a bl e i n c o ntri b uti o n a n d

i n d e m nit y f or t h eir r el ati v e c ul p a bilit y.

                                                                      - 2 7-
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I V.        D W H P’s D o mi n e e ri n g M a n a g e m e nt a n d U n d e r c a pit ali z ati o n of S o Cl e a n

            8 2.       D W H P h as e x er cis e d its o w n ers hi p of S o Cl e a n t o r e n d er S o Cl e a n it s alt er e g o,

c o ntr olli n g S o Cl e a n’s b usi n ess d e cisi o ns, b ot h l ar g e a n d s m all.           D W H P r a n S o Cl e a n t o its o w n

b e n efit, tr e ati n g S o Cl e a n as its p ers o n al pi g g y b a n k. I g n ori n g t h e cl e ar ris ks ass o ci at e d wit h

S o Cl e a n’s b usi n ess, D W H P l eft S o Cl e a n u n d er c a pit ali z e d a n d u n d eri ns ur e d, att e m pti n g t o i ns ul at e

D W H P fr o m a n y f all o ut b y m ai nt ai ni n g o n p a p er t h e e xist e n c e of S o Cl e a n as a s e p ar at e c or p or at e

e ntit y.

            8 3.       D W H P is a “ h e alt h c ar e-f o c us e d pri v at e e q uit y fir m. ” 5 4             T h e fr o nt p a g e of it s

w e bsit e pr o mi n e ntl y f e at ur es its s o p histi c ati o n i n t h e s e ct or: “ W e k n o w h e alt h c ar e. ” 5 5     A c c or di n g

t o it s w e bsit e, D W H P is r u n b y “s e as o n e d h e alt h c ar e e x e c uti v es wit h m or e t h a n 1 2 0 y e ars of

c o m bi n e d i n d ustr y e x p eri e n c e. ” 5 6   A n d D W H P cl ai ms t h at it s “i n v est m e nt f o c us all o ws us t o b ett er

u n d erst a n d a n d m o nit or t h e r e g ul at or y cli m at e , p e n di n g a n d c urr e nt r ei m b urs e m e nt iss u es, a n d

g o v er n m e nt p oli ci es a n d tr e n ds t h at i m p a ct t h e h e alt h c ar e m ar k et pl a c e. ”5 7

            8 4.       Gi v e n D W H P’s a n n o u n c e d s o p histi c ati o n i n h e alt h c ar e a n d h e alt h c ar e r e g ul ati o n,

D W H P k n e w or s h o ul d h a v e k n o w n fr o m e v e n a b asi c l e v el of dili g e n c e at of t h e ti m e of it s

S o Cl e a n a c q uisiti o n t h at S o Cl e a n’s o z o n e- b as e d cl e a ni n g m a c hi n es w er e n ot F D A a p pr o v e d or

cl e ar e d f or us e wit h P A Ps a n d t h er ef or e ill e g al t o pr o m ot e or s ell f or us e wit h P A P d e vi c es. I n

ot h er w or ds, D W H P k n e w or s h o ul d h a v e k n o w n t h at S o Cl e a n’s b usi n ess a n d pri m ar y s o ur c e of



54
             D W H e alt h c ar e P art n ers, D W H P H o m e, w w w. d w h p. c o m/ (l ast visit e d A u g. 1 3, 2 0 2 4).
55
            I d.
56
            D W H e alt h c ar e P art n ers, D W H e alt h c ar e p art n ers r ais es f o u n d er f u n d wit h 2 1 0 milli o n of
c a pit al c o m mit m e nts , htt ps:// w w w. d w h p. c o m/ d w- h e alt h c ar e- p art n ers-r ais es-f o u n d ers-f u n d- wit h-
2 1 0- milli o n- of- c a pit al- c o m mit m e nts/ (l ast visit e d A u g. 1 3, 2 0 2 4).
57
            D W H e alt h c ar e P art n ers, A d di n g V al u e, w w w. d w h p. c o m/ a d di n g- v al u e/ (l ast visit e d A u g.
1 3, 2 0 2 4) ( e m p h as es a d d e d).
                                                                      - 2 8-
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i n c o m e w as pr e di c at e d o n ill e g al c o n d u ct a n d c o ul d b e s u bj e ct t o a n e nf or c e m e nt a cti o n at a n y

ti m e. F urt h er, D W H P k n e w or s h o ul d h a v e k n o w n fr o m its dili g e n c e t h at o z o n e w as k n o w n t o

d e gr a d e t h e c o m p o n e nts of t h e P A P d e vi c es t h e y w er e m e a nt t o cl e a n, f urt h er pl a ci n g S o Cl e a n’s

b usi n ess at ris k.        D W H P t h us att e m pt e d t o e ns ur e t his ris k w o ul d o nl y b e t o S o Cl e a n b y

m ai nt ai ni n g S o Cl e a n o n p a p er as a s e p ar at e c or p or ati o n wit h littl e c a pit al.

           8 5.       N ot wit hst a n di n g t his ris k pr ofil e, D W H P a c q uir e d a c o ntr olli n g i nt er est i n S o Cl e a n

fr o m S o Cl e a n’s ori gi n al s h ar e h ol d ers, i n cl u di n g its c urr e nt m a n a g e m e nt, f or $ 1 2 1 milli o n o n

D e c e m b er 2 0, 2 0 1 7. 5 8    A b o ut $ 8 6. 5 milli o n of t his w e nt t o S o Cl e a n’s f or m er o w n ers i n c as h, wit h

a n ot h er $ 3 2. 6 milli o n i n n e wl y iss u e d st o c k.         O nl y $ 1. 6 milli o n of t h e p ur c h as e pri c e w e nt t o

S o Cl e a n’s w or ki n g c a pit al t o o p er at e t h e b usi n ess.         A n d t h e a c q uisiti o n w as a c c o u nt e d f or o n

S o Cl e a n’s b al a n c e s h e et b y dr a m ati c all y i n cr e asi n g i nt a n gi bl e ass ets a n d g o o d will o v er ni g ht, e v e n

t h o u g h b ot h w er e s u bj e ct t o i m m e di at e i m p air m e nt b e c a us e b ot h w er e b as e d o n S o Cl e a n’s ill e g al

b usi n ess. T h e a c c o u nti n g f or t h e tr a ns a cti o n cr e at e d t w o si z e a bl e n e w ass ets (i. e., i nt a n gi bl e ass ets

a n d g o o d will) t o dr a w d o w n o n S o Cl e a n’s ass ets w hil e l o a di n g t h e c o m p a n y u p wit h d e bt.

O v er ni g ht, wit h o nl y $ 1. 6 milli o n i n v est e d i n S o Cl e a n’s o p er ati o ns, S o Cl e a n s u p p os e dl y i n cr e as e d

dr a m ati c all y i n v al u e. B ut t h os e i nt a n gi bl e ass ets a n d t h at g o o d will w er e b uilt u p o n t h e pr e mis e

t h at S o Cl e a n h a d a vi a bl e a n d l a wf ul b usi n ess. A n d, w h e n S o Cl e a n’s a u dit ors a ct u all y e v al u at e d

t h es e ass u m pti o ns, m a n a g e m e nt w as r e q uir e d t o writ e d o w n t h es e ass ets. 5 9




58
            S e e C o m pl ai nt, S o Cl e a n 2 Pt y Lt d v. S o Cl e a n, I n c. , 4: 1 8- c v- 4 0 0 5 4 ( D. M ass fil e d A pr. 1 3,
2 0 1 8); A ns w er, i d. ( D. M ass fil e d O ct. 2, 2 0 1 8), ¶ 7 0 ( S o Cl e a n a d mitti n g t h at “[ o] n or a b o ut
D e c e m b er 2 1, 2 0 1 7, D W H e alt h c ar e, a T or o nt o- b as e d pri v at e e q uit y fir m, a c q uir e d a c o nt r olli n g
i nt e r est i n [ S o Cl e a n] ”) ( e m p h asi s a d d e d).
59
            F or all e g ati o ns r el at e d t o D W H P a n d t h e D W F u n ds, s e e, e. g., M D L 3 0 2 1, E C F N o. 5 0 7,
¶ ¶ 6 2- 7 3.
                                                                  - 2 9-
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           8 6.       F urt h er, D W H P str u ct ur e d its a c q uisiti o n i n a m a n n er t h at s a d dl e d S o Cl e a n wit h

e n or m o us d e bt t h at l eft S o Cl e a n i n a pr e c ari o us fi n a n ci al c o n diti o n.              D W H P fi n a n c e d it s

a c q uisiti o n t hr o u g h a s e ni or cr e dit f a cilit y t h at i m p os e d $ 6 0 milli o n i n d e bt o n S o Cl e a n, wit h li e ns

o n all of S o Cl e a n’s ass ets a n d t h at of it s p ar e nt. T h e cr e dit or, W hit e O a k H e alt h c ar e Fi n a n c e,

L L C, r e q uir e d t h at t h e $ 6 0 milli o n i n fi n a n ci n g b e s e c ur e d as s e ni or d e bt b e c a us e of S o Cl e a n’s

l a c k of li q ui dit y, r e g ul at or y ris k, a n d ot h er m at eri al fi n a n ci al d e bts a n d o bli g ati o ns.

           8 7.       L ess t h a n a y e ar aft er t h e a c q uisiti o n, D W H P i n cr e as e d S o Cl e a n’s d e bt b y a n ot h er

$ 3 3 milli o n, als o b orr o w e d fr o m         W hit e O a k H e alt h c ar e Fi n a n c e.      A g ai n, t h e pr o c e e ds of t his

tr a ns a cti o n w er e us e d t o m a k e distri b uti o ns t o S o Cl e a n’s s h ar e h ol d ers (i. e., t o D W H P), n ot t o

i m pr o v e t h e S o Cl e a n b usi n ess, t h e s af et y of its pr o d u cts, or its fi n a n ci al p ositi o n.            M or e d e bt

si m pl y all o w e d m or e distri b uti o ns t o D W H P, t h er e b y e ns uri n g t h e q ui c k r e c o u p m e nt of f ull y h alf

of its i n v est m e nt, r e g ar dl ess of w h et h er S o Cl e a n s ur vi v e d as a g oi n g c o n c er n. S o Cl e a n r e c ei v e d

n o b e n efit fr o m t his distri b uti o n t o D W H P; i nst e a d, it w as o nl y f urt h er s a d dl e d wit h 5 0 % m or e

d e bt, wit h n o offs etti n g b e n efit. T h er e w as n o r e as o n f or S o Cl e a n’s b o ar d of dir e ct ors, if o p er ati n g

i n d e p e n d e ntl y fr o m D W H P, t o a p pr o v e m or e d e bt j ust t o t ur n o v er t h at a m o u nt t o its pri v at e e q uit y

s p o ns or.

           8 8.       B y D e c e m b er 2 0 1 8, D W H P c ert ai nl y h a d dir e ct k n o wl e d g e r e g ar di n g S o Cl e a n’s

r e g ul at or y ris ks. D es pit e t his ris k, D W H P c a us e d S o Cl e a n t o t a k e o n a d diti o n al d e bt, w hil e o n c e

a g ai n att e m pti n g t o i ns ul at e its elf fr o m a n y e x p os ur e.

           8 9.       I n 2 0 1 9, D W H P r e p e at e d its f urt h er l e v er a gi n g of S o Cl e a n, t his ti m e b y i n cr e asi n g

S o Cl e a n’s d e bt b y a n ot h er $ 5 milli o n, t h e pr o c e e ds fr o m w hi c h w er e us e d t o b u y b a c k s h ar es of

t h e c o m p a n y fr o m S o Cl e a n’s f o u n d er. A g ai n, t h er e w as n o r e as o n f or S o Cl e a n’s b o ar d of dir e ct ors




                                                                    - 3 0-
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t o a p pr o v e m or e d e bt a n d o v erl e v er a g e S o Cl e a n j ust t o all o w t h e r e p ur c h as e of s h ar es a n d e nri c h

S o Cl e a n’s f or m er h e a d.

           9 0.       D W H P di d n ot o nl y e nri c h it s elf t hr o u g h t h es e distri b uti o ns a c hi e v e d b y cr e ati n g

m or e l e v er a g e. D W H P f urt h er si p h o n e d f u n ds fr o m S o Cl e a n, b ot h i n t er ms of m a n a g e m e nt f e es

a n d t h e r e c ei pt of l ar g e di vi d e n ds. D W H P s e c ur e d a n n u al m a n a g e m e nt f e es of a b o ut $ 1 milli o n,

r e g ar dl ess of S o Cl e a n’s p erf or m a n c e.        D W H P als o dis p ers e d t o its elf l ar g e di vi d e n ds at t h e

e x p e ns e of S o Cl e a n. F or e x a m pl e, t h e y e ar f oll o wi n g t h e ass u m pti o n of t h e a d diti o n al $ 3 3 milli o n

of S o Cl e a n d e bt, D W H P p ai d its elf a n d t h e ot h er s h ar e h ol d ers di vi d e n ds of $ 2. 9 8 9 milli o n.

           9 1.       I n a d diti o n t o D W H P’s o v ert si p h o ni n g of f u n ds, D W H P als o o bt ai n e d i n a d e q u at e

i ns ur a n c e c o v er a g e f or S o Cl e a n. As a m e di c al d e vi c e c o m p a n y o p er ati n g wit h o ut F D A a p pr o v al

or cl e ar a n c e t o s ell its d e vi c es  d e vi c es t h at us e a t o xi c g as t o cl e a n P A P d e vi c es t h at p ati e nts us e

e v er y d a y ¾ S o Cl e a n’s b usi n ess w as fr a u g ht wit h r e g ul at or y a n d liti g ati o n ris k.             D es pit e t his,

D W H P o pt e d f or mi ni m al i ns ur a n c e c o v er a g e f or S o Cl e a n. F or e x a m pl e, S o Cl e a n’s i ns ur er h as

i nf or m e d S o Cl e a n it s p oli c y di d n ot c o v er cl ai ms r e g ar di n g, i nt er ali a, S o Cl e a n’s f ail ur e t o

dis cl os e its d e vi c es e mit o z o n e at l e v els d e cl ar e d u ns af e b y F D A.      W ors e still, e v e n h a d t h e i ns ur er

d e e m e d s u c h cl ai m s w as c o v er e d, S o Cl e a n’s p oli c y h as a n a g gr e g at e c o v er a g e li mit of o nl y $ 1 0

milli o n — cl e arl y i n a d e q u at e t o c o v er a c o m p a n y of S o Cl e a n’s ris k pr ofil e.

           9 2.       I n 2 0 2 1, S o Cl e a n’s h o us e of c ar ds b e g a n t o c oll a ps e. I n 2 0 2 1, S o Cl e a n wr ot e d o w n

its i nt a n gi bl e ass ets a n d g o o d will b y a st a g g eri n g $ 3 8. 6 milli o n, a writ e- d o w n o v er 1 0 0 ti m es

gr e at er t h a n it s $ 2 3 2, 0 0 0 writ e- d o w n t h e y e ar pri or.

           9 3.       S o Cl e a n h as r e pr es e nt e d t o t his C o urt t h at it is u n d er s e v er e fi n a n ci al str ai n, s u c h

as b y c o nfir mi n g as “ a c c ur at e ” d es cri pti o ns of S o Cl e a n h a vi n g “ v er y att e n u at e d . . . fi n a n ci al

cir c u mst a n c es. ”

                                                                    - 3 1-
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           9 4.       D W H P h as o w n e d a c o ntr olli n g i nt er est i n S o Cl e a n si n c e it s a c q uisiti o n of S o Cl e a n

i n 2 0 1 7.

           9 5.       T hr o u g h o ut its o w n ers hi p, D H W P h as d o mi n at e d S o Cl e a n’s m a n a g e m e nt a n d

c o ntr oll e d it f or its o w n b e n efit. S o Cl e a n’s B o ar d of M a n a g ers als o i n cl u d es s e ni or e x e c uti v es

fr o m D W H P w h o c o ntr ol t h e B o ar d. T h es e e x e c uti v es s er vi n g o n S o Cl e a n’s b o ar d p arti ci p at e i n

S o Cl e a n’s m a n a g e m e nt b e y o n d w h at is c ust o m ar y f or a n i n v est or. I n f a ct, S o Cl e a n’s d a y-t o- d a y

m a n a g e m e nt is r u n b y D H W P, as D W H P a d mits b y c h ar gi n g a n n u all y its $ 1 milli o n m a n a g e m e nt

f e e.

           9 6.       D W H P’s i n v ol v e m e nt i n, r u n ni n g of, a n d c o ntr ol of S o Cl e a n’s d a y-t o- d a y aff airs

f ar e x c e e d e d t h at w hi c h is t y pi c al of or a p pr o pri at e f or a s h ar e h ol d er. D W H P c o ntr oll e d a n d w as

i nti m at el y i n v ol v e d i n t h e mi n uti a e of S o Cl e a n’s o p er ati o ns. T h e li mit e d pr o d u c e d r e c or ds t o d at e

i n di c at e t h at, at mi ni m u m: (i) D W H P w as i n v ol v e d i n a n d e x er cis e d a ut h orit y o v er p ers o n n el

d e cisi o ns at S o Cl e a n; (ii) D W H P w as i n v ol v e d i n a n d e x er cis e d a ut h orit y o v er br a n di n g d e cisi o ns

at S o Cl e a n; (iii) D W H P w as i n v ol v e d i n a n d e x er cis e d a ut h orit y o v er t esti n g a n d r es e ar c h

d e cisi o ns at S o Cl e a n; a n d (i v) D W H P w as i n v ol v e d i n a n d e x er ci s e d a ut h orit y o v er t h e m ar k eti n g

a n d a d v ertisi n g d e cisi o ns at S o Cl e a n.

           9 7.       At all r el e v a nt ti m es, D H W P k n e w or s h o ul d h a v e k n o w n t hr o u g h, i nt er ali a, its

h e a v y pr es e n c e o n S o Cl e a n’s b o ar d a n d r ol e i n d a y-t o- d a y m a n a g e m e nt, t h at S o Cl e a n’s fl a gs hi p

o z o n e m a c hi n es w er e n ot F D A a p pr o v e d or cl e ar e d f or us e wit h P A Ps, t h at S o Cl e a n’s pr o m oti o n

a n d s al e of it s o z o n e- b as e d P A P cl e a ni n g m a c hi n es w as u nl a wf ul a n d, t h us, t h at n e arl y 1 0 0 % of

S o Cl e a n’s r e v e n u es w er e d eri v e d fr o m u nl a wf ul c o n d u ct. Si mil arl y, at all r el e v a nt ti m es, D H W P

k n e w or s h o ul d h a v e k n o w n t h at e x p os ur e t o t h e o z o n e us e d i n S o Cl e a n’s e q ui p m e nt is t o xi c, a n d




                                                                    - 3 2-
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t h at S o Cl e a n’s e q ui p m e nt c o ul d c a us e f o a m wit hi n v ari o us P A P d e vi c es i n t h e m ar k et, i n cl u di n g

t h e R e c all e d D e vi c es, t o d e gr a d e.

             9 8.     S o Cl e a n’s c o n d u ct, as D W H P’s alt er e g o, c o ntri b ut e d t o t h e h ar ms all e g e d a n d f or

w hi c h t h e P hili ps D ef e n d a nts ar e b e ari n g or m a y i n t h e f ut ur e b e ar fi n a n ci al r es p o nsi bilit y.

I m pl e a d er is t h er ef or e a p pr o pri at e.


                                                       C L AI M S F O R R E LI E F

                                              C O U N T 1 – C O N T RI B U TI O N
                                         ( A S 0 9. 1 7. 0 8 0( d); A K R R C P R ul e 1 4( c))

             9 9.     T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 0 0.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 0 1.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.               T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.         B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d


                                                                     - 3 3-
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D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 0 2.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o e q uit a bl e a p p orti o n m e nt fr o m T hir d-

P art y D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                             C O U N T 2 – C O N T RI B U TI O N
                                   ( Ar k. C o d e § 1 6- 6 1- 2 0 2, Ar k. C o d e § 1 6- 6 1- 2 0 7)

             1 0 3.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 0 4.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 0 5.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d
                                                                     - 3 4-
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D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 0 6.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                               C O U N T 3 – C O N T RI B U TI O N
                                                ( C al. Ci v. C o d e § § 1 4 3 1, 1 4 3 2)

             1 0 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 0 8.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 0 9.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o pr o p orti o n at e c o ntri b uti o n fr o m T hir d-

P art y D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.
                                                                     - 3 5-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 36 of 66




                                       C O U N T 4 – E Q UI T A B L E I N D E M NI T Y
                                            ( C al. C o d e. Ci v. Pr o c. § 4 2 8. 1 0( b))

             1 1 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 1 1.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 1 2.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 1 3.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o e q uit a bl e a p p orti o n m e nt fr o m T hir d-

P art y D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.
                                                                     - 3 6-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 37 of 66




                                              C O U N T 5 – C O N T RI B U TI O N
                                         ( C ol o. R e v. St at. § § 1 3- 5 0. 5- 1 0 1, et s e q .)

             1 1 4.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 1 5.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n. 6 0

                                                    C O U N T 6 – C O N T RI B U TI O N
                                                   ( D el. C o d e tit. 1 0, § § 6 3 0 1, et s e q .)

             1 1 6.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 1 7.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.


60
             A c o ntri b uti o n cl ai m f or Pl ai ntiffs w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d a n d w h o
us e d S o Cl e a n is n ot y et ri p e i n t his j uris di cti o n, b ut t h e P hili p D ef e n d a nts i nt e n d t o bri n g s u c h a
c o ntri b uti o n cl ai m w h e n a cti o n a bl e.
                                                                     - 3 7-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 38 of 66




             1 1 8.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 1 9.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                                C O U N T 7 – C O N T RI B U TI O N
                                                        ( W as hi n gt o n, D. C.)

             1 2 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 2 1.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-
                                                                     - 3 8-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 39 of 66




P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 2 2.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o e q uit a bl e a p p orti o n m e nt fr o m T hir d-

P art y D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                              C O U N T 8 – C O N T RI B U TI O N
                                         ( H a w. R e v. St at. A n n. § § 6 6 3- 1 2, et s e q. )

             1 2 3.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 2 4.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 2 5.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.
                                                                     - 3 9-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 40 of 66




F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 2 6.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                                C O U N T 9 – C O N T RI B U TI O N
                                            ( 7 4 0 Ill. C o m p. St at. 1 0 0/ 0. 0 1, et s e q. )

             1 2 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 2 8.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 2 9.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot
                                                                     - 4 0-
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li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 3 0.   T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 1 0 – C O N T RI B U TI O N
                                                 (I o w a C o d e § § 6 6 8. 1, et s e q. )

             1 3 1.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 3 2.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n. 6 1

                                              C O U N T 1 1 – C O N T RI B U TI O N
                                                             ( M ai n e)

             1 3 3.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 3 4.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n


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             A c o ntri b uti o n cl ai m f or Pl ai ntiffs w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d a n d w h o
us e d S o Cl e a n is n ot y et ri p e i n t his j uris di cti o n, b ut t h e P hili p D ef e n d a nts i nt e n d t o bri n g s u c h a
c o ntri b uti o n cl ai m w h e n a cti o n a bl e.
                                                                     - 4 1-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 42 of 66




D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 3 5.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 3 6.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt t ortf e as ors.

                                              C O U N T 1 2 – C O N T RI B U TI O N
                                                 ( M d. C o d e § § 3- 1 4 0 1, et s e q. )

             1 3 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 3 8.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o
                                                                     - 4 2-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 43 of 66




p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 3 9.   T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                              C O U N T 1 3 – C O N T RI B U TI O N
                                             ( M ass. G e n. L a ws c h. 2 3 1 B, § § 1- 4)

             1 4 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 4 1.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n. 6 2



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             A c o ntri b uti o n cl ai m f or Pl ai ntiffs w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d a n d w h o
us e d S o Cl e a n is n ot y et ri p e i n t his j uris di cti o n, b ut t h e P hili p D ef e n d a nts i nt e n d t o bri n g s u c h a
c o ntri b uti o n cl ai m w h e n a cti o n a bl e.
                                                                     - 4 3-
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                                              C O U N T 1 4 – C O N T RI B U TI O N
                                                ( Mi n n. St at. § § 6 0 4. 0 1, et s e q. )

             1 4 2.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 4 3.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 4 4.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 4 5.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.



                                                                     - 4 4-
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                                              C O U N T 1 5 – C O N T RI B U TI O N
                                                   ( M o. R e v. St at. § 5 3 7. 0 6 0)

             1 4 6.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 4 7.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 4 8.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 4 9.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.



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                                              C O U N T 1 6 – C O N T RI B U TI O N
                                                   ( M o nt. C o d e § 2 7- 1- 7 0 3)

             1 5 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 5 1.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 5 2.   T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                              C O U N T 1 7 – C O N T RI B U TI O N
                                              ( N e b. R e v. St at. § § 2 5- 2 1, 1 8 5. 1 0)

             1 5 3.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 5 4.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n


                                                                     - 4 6-
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D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 5 5.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 5 6.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 1 8 – C O N T RI B U TI O N
                                                   ( N e v. R e v. St at. § 1 7. 2 2 5)

             1 5 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 5 8.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d
                                                                     - 4 7-
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p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 5 9.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 6 0.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt t ortf e as ors.

                                             C O U N T 1 9 – C O N T RI B U TI O N
                                    ( N.J. S. A. 2 A: 5 3 A- 1; N.J. S. A. 2 A: 1 5- 5. 3, et s e q. )

             1 6 1.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 6 2.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e
                                                                     - 4 8-
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a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 6 3.   T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                           C O U N T 2 0 – P R O P O R T I O N A L I N D E M NI FI C A TI O N
                                                     ( N e w M e xi c o)

             1 6 4.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 6 5.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.




                                                                     - 4 9-
             Case 2:21-mc-01230-JFC Document 2922 Filed 08/13/24 Page 50 of 66




             1 6 6.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o i n d e m nifi c ati o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts. 6 3

                                              C O U N T 2 1 – C O N T RI B U TI O N
                                                ( N. Y. C. P. L. R. § § 1 4 0 1, et s e q. )

             1 6 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             1 6 8.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 6 9.   T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 2 2 – C O N T RI B U TI O N
                                               ( N. C. G e n. St at. § § 1 B- 1, et s e q .)

             1 7 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.


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             A pr o p orti o n al i n d e m nifi c ati o n cl ai m f or Pl ai ntiffs w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt
F u n d a n d w h o us e d S o Cl e a n i s n ot y et ri p e i n t his j uris di cti o n, b ut t h e P hili p D ef e n d a nts i nt e n d t o
bri n g s u c h a c o ntri b uti o n cl ai m w h e n a cti o n a bl e.
                                                                     - 5 0-
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             1 7 1.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 7 2.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 7 3.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                             C O U N T 2 3 – C O N T RI B U TI O N
                                           ( N. D. C e nt. C o d e § § 3 2- 3 8- 0 1, et s e q .)

             1 7 4.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.
                                                                     - 5 1-
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             1 7 5.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 7 6.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 7 7.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                             C O U N T 2 4 – C O N T RI B U TI O N
                                            ( O hi o R e v. C o d e § § 2 3 0 7. 2 5, et s e q. )

             1 7 8.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.
                                                                     - 5 2-
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             1 7 9.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 8 0.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 8 1.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 2 5 – C O N T RI B U TI O N
                                                     ( 1 2 O kl a. St at. § 8 3 2)

             1 8 2.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             1 8 3.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 8 4.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 8 5.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 2 6 – C O N T RI B U TI O N
                                              ( 4 2 P a. C o ns. St at. § § 8 3 2 4, et s e q. )

             1 8 6.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             1 8 7.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 8 8.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 8 9.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 2 7 – C O N T RI B U TI O N
                                                  ( R.I. G.I. § § 1 0- 6- 3, et s e q. )

             1 9 0.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             1 9 1.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 9 2.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 9 3.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                               C O U N T 2 8 – C O N T RI B U TI O N
                                            ( S. C. C o d e A n n. § § 1 5- 3 8- 2 0, et s e q. )

             1 9 4.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             1 9 5.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             1 9 6.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             1 9 7.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 2 9 – C O N T RI B U TI O N
                                                 ( S. D. C. L. § § 1 5- 8- 1 2, et s e q. )

             1 9 8.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             1 9 9.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             2 0 0.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.

             2 0 1.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 3 0 – C O N T RI B U TI O N
                                          ( T e n n. C o d e A n n. § § 2 9- 1 1- 1 0 2, et s e q. )

             2 0 2.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.



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             2 0 3.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n. 6 4

                                             C O U N T 3 1 – C O N T RI B U TI O N
                               ( T e x. Ci v. Pr a c. & R e m. C o d e A n n. § § 3 3. 0 1 5, et s e q. )

             2 0 4.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             2 0 5.   F or D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d ( w h et h er b y c h oi c e

or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e f or a n y

d a m a g es all e g e d b y D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d n ot b e, r e q uir e d t o

p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y. T h e P hili ps D ef e n d a nts d e n y t h e y h a v e

a n y li a bilit y t o t h es e D e vi c e Us ers. B ut t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d li a bl e t o

D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d D e vi c es, t h e n t h e T hir d- P art y

D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y. F or t his c at e g or y, t h e T hir d-

P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot li mit e d t o Q u alif yi n g R es pir at or y

I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o b e c a us e of o z o n e’s c o ntri b uti o n

t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.



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             A c o ntri b uti o n cl ai m f or Pl ai ntiffs w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d a n d w h o
us e d S o Cl e a n is n ot y et ri p e i n t his j uris di cti o n, b ut t h e P hili p D ef e n d a nts i nt e n d t o bri n g s u c h a
c o ntri b uti o n cl ai m w h e n a cti o n a bl e.
                                                                     - 5 9-
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             2 0 6.   T h e P hili ps       D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 3 2 – C O N T RI B U TI O N
                                              ( V a. C o d e A n n. § § 8. 0 1- 3 4, et s e q. )

             2 0 7.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             2 0 8.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             2 0 9.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.



                                                                     - 6 0-
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             2 1 0.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m t h e T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts a n d t o a n

all o c ati o n of f a ult as a m o n g all j oi nt wr o n g d o ers.

                                               C O U N T 3 3 – C O N T RI B U TI O N
                                                 ( R. C. W. A § § 4. 2 2. 0 3 0, et s e q. )

             2 1 1.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             2 1 2.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             2 1 3.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.
                                                                     - 6 1-
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             2 1 4.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m t h e T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                             C O U N T 3 4 – C O N T RI B U TI O N
                                         ( W est Vir gi ni a C o d e § § 5 5- 7- 1 3 a, et s e q. )

             2 1 5.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             2 1 6.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             2 1 7.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.



                                                                     - 6 2-
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             2 1 8.   T h e P hili ps D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m t h e T hir d- P art y

D ef e n d a nts f or t h eir c o m p ar ati v e s h ar e of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                              C O U N T 3 5 – C O N T RI B U TI O N
                                                           ( Wis c o nsi n)

             2 1 9.   T h e P hili ps D ef e n d a nts i n c or p or at e e a c h of t h e all e g ati o ns a b o v e as if f ull y s et f ort h

h er ei n.

             2 2 0.   T h e P hili ps D ef e n d a nts r e q u est j u d g m e nt a g ai nst T hir d- P art y D ef e n d a nts f or t h os e

a m o u nts p ai d b y t h e P hili ps D ef e n d a nts i nt o t h e S ettl e m e nt F u n d i n it s dis c h ar g e of t h e c o m m o n

li a bilit y i n e x c ess of t h e P hili ps D ef e n d a nts’ pr o r at a s h ar e t o D e vi c e Us er s w h o us e d a S o Cl e a n

D e vi c e a n d w er e p ai d f or a Q u alif yi n g R es pir at or y I nj ur y. F or t h at p orti o n of t h e S ettl e m e nt F u n d

p ai d t o D e vi c e Us ers w h o us e d a S o Cl e a n D e vi c e wit h t h eir R e c all e d D e vi c e a n d w h o ar e p ai d f or

a Q u alif yi n g R es pir at or y I nj ur y, t h e P hili ps D ef e n d a nts ar e e ntitl e d t o c o ntri b uti o n f or t h e h ar ms

c a us e d t o t h e D e vi c e Us ers b y t h e S o Cl e a n D e vi c e t hr o u g h dir e ct o z o n e i n h al ati o n.

             2 2 1.   A d diti o n all y, f or t h os e D e vi c e Us ers w h o d o n ot p arti ci p at e i n t h e S ettl e m e nt F u n d

( w h et h er b y c h oi c e or b e c a us e of i n eli gi bilit y), if a n d t o t h e e xt e nt t h e P hili ps D ef e n d a nts ar e f o u n d

li a bl e f or a n y d a m a g es all e g e d b y t h os e D e vi c e Us ers, t h e P hili ps D ef e n d a nts m a y b e, b ut s h o ul d

n ot b e, r e q uir e d t o p a y m or e t h a n t h eir pr o r at a s h ar e of t h e c o m m o n li a bilit y.                T h e P hili ps

D ef e n d a nts d e n y t h e y h a v e a n y li a bilit y t o t h es e D e vi c e Us ers.          B ut t o t h e e xt e nt t h e P hili ps

D ef e n d a nts ar e f o u n d li a bl e t o D e vi c e Us ers w h o us e d S o Cl e a n D e vi c es wit h t h eir R e c all e d

D e vi c es, t h e n t h e T hir d- P art y D ef e n d a nts ar e als o li a bl e i n pr o p orti o n t o t h eir r el ati v e c ul p a bilit y.

F or t his c at e g or y, t h e T hir d- P art y D ef e n d a nts ar e r es p o nsi bl e f or a n y pr o v e n i nj ur y ( i. e., n ot

li mit e d t o Q u alif yi n g R es pir at or y I nj uri es) n ot o nl y o n a c c o u nt of dir e ct o z o n e i n h al ati o n, b ut als o

b e c a us e of o z o n e’s c o ntri b uti o n t o f o a m d e gr a d ati o n a n d t h e r el e as e of V O Cs fr o m d e gr a d e d f o a m.



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           2 2 2.    T h e P hili ps      D ef e n d a nts ar e t h us e ntitl e d t o c o ntri b uti o n fr o m T hir d- P art y

D ef e n d a nts f or all or p art of a n y j u d g m e nt e nt er e d a g ai nst t h e P hili ps D ef e n d a nts.

                                                    P R A Y E R F O R R E LI E F

           W H E R E F O R E, T hir d- P art y Pl ai ntiffs r es p e ctf ull y as k f or:

                     a.         E ntr y of j u d g m e nt i n T hir d- P art y Pl ai ntiffs’ f a v or a g ai nst T hir d- P art y

D ef e n d a nts;

                     b.         A n a w ar d of c o ntri b uti o n a n d i n d e m nit y pr o p orti o n al t o t h e T hir d- P art y

D ef e n d a nts’ f a ult f or all or p art of (i) t h e pr o c e e ds p ai d t o D e vi c e Us ers wit h a Q u alif yi n g

R es pir at or y I nj ur y u n d er t h e S ettl e m e nt F u n d, a n d (ii) a n y j u d g m e nt f or w hi c h T hir d- P art y

Pl ai ntiffs ar e d et er mi n e d t o b e li a bl e (if a n y), irr es p e cti v e of t h e cl ai m e d i nj ur y;

                     c.         Pr ej u d g m e nt a n d p ost-j u d g m e nt i nt er est;

                     d.         R e as o n a bl e att or n e ys’ f e es, c osts, a n d e x p e ns es i n c urr e d i n t his liti g ati o n as

all o w e d f or t h e i n d e m nit y a n d ot h er cl ai ms ass ert e d b y T hir d- P art y Pl ai ntiffs; a n d

                     e.         S u c h ot h er r eli ef as t h e C o urt m a y d e e m a p pr o pri at e a n d j ust.

                                                          J URY DE MAND

           T hir d- P art y Pl ai ntiffs d e m a n d a j ur y tri al o n all iss u es s o tri a bl e.

                                                                 R es p e ctf ull y s u b mitt e d,


   D at e d: A u g ust 1 3, 2 0 2 4                              /s/ Eri k T. K o o ns
                                                                Eri k T. K o o ns ( a d mitt e d pr o h a c vi c e )
                                                                eri k. k o o ns @ b a k er b otts. c o m
                                                                St erli n g M ar c h a n d ( a d mitt e d pr o h a c vi c e )
                                                                st erli n g. m ar c h a n d @ b a k er b otts. c o m
                                                                B A K E R B O T T S L. L. P.
                                                                7 0 0 K Str e et, N W
                                                                W as hi n gt o n, D C 2 0 0 0 1
                                                                T el: ( 2 0 2) 6 3 9- 7 7 0 0
                                                                F a x: ( 2 0 2) 5 8 5- 1 0 8 6

                                                                    - 6 4-
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                             /s/ A n dr e w T. G e or g e
                             A n dr e w T. G e or g e ( P A B ar N o. 2 0 8 6 1 8)
                             a n dr e w. g e or g e @ b g bl a w y ers. c o m
                             B O U R E L L Y, G E O R G E + B R O D E Y
                             1 0 5 0 3 0t h Str e et, N W
                             W as hi n gt o n, D C 2 0 0 0 7
                             T el: ( 2 0 2) 7 5 3- 5 0 1 2
                             F a x: ( 7 0 3) 4 6 5- 8 1 0 4

                             C o u ns el f or T hir d- P art y Pl ai ntiff P hili ps R S
                             N ort h A m eri c a L L C


                               /s/ Mi c h a el H. St ei n b er g
                             Mi c h a el H. St ei n b er g ( C A B ar N o. 1 3 4 1 7 9)
                             st ei n b er g m @s ull cr o m. c o m
                             S U L LI V A N & C R O M W E L L L L P
                             1 8 8 8 C e nt ur y P ar k E ast
                             L os A n g el es, C A 9 0 0 6 7
                             T el: ( 3 1 0) 7 1 2- 6 6 7 0
                             F a x: ( 3 1 0) 7 1 2- 8 8 0 0

                               /s/ Willi a m B. M o n a h a n
                             Tr a c y Ri c h ell e Hi g h ( N Y B ar N o. 3 0 2 0 0 9 6)
                             hi g ht @s ull cr o m. c o m
                             Willi a m B. M o n a h a n ( N Y B ar N o. 4 2 2 9 0 2 7)
                             m o n a h a n w @s ull cr o m. c o m
                             S U L LI V A N & C R O M W E L L L L P
                             1 2 5 Br o a d Str e et
                             N e w Y or k, N Y 1 0 0 0 4- 2 4 9 8
                             T el: ( 2 1 2) 5 5 8- 4 0 0 0
                             F a x: ( 2 1 2) 5 5 8- 3 5 8 8

                             C o u ns el f or T hir d- P art y Pl ai ntiffs K o ni n klij k e
                             P hili ps N. V., P hili ps N ort h A m eri c a L L C,
                             P hili ps H ol di n g U S A I n c., a n d P hili ps R S N ort h
                             A m eri c a H ol di n g C or p or ati o n




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                                               C E R TI FI C A T E O F S E R VI C E

             I h er e b y c ertif y o n t his 1 3t h d a y of A u g ust 2 0 2 4 a tr u e a n d c orr e ct c o p y of t h e f or e g oi n g

w as fil e d el e ctr o ni c all y a n d is a v ail a bl e f or vi e wi n g a n d d o w nl o a di n g fr o m t h e C o urt’s E C F

S yst e m.         N oti c e of t his fili n g will b e s e nt t o all c o u ns el of r e c or d b y o p er ati o n of t h e E C F

S yst e m.


                                                                   /s/ Willi a m B. M o n a h a n _ _ _ _ _ _ _ _ _
                                                                 Willi a m B. M o n a h a n




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